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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                    STATE DEFENDANTS’ BRIEF IN RESPONSE TO
               THE UNITED STATES’ MOTION FOR SUMMARY JUDGMENT



                                APPENDIX V
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                              IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION


 LA UNION DEL PUEBLO ENTERO, et al.,               §
       Plaintiffs,                                 §
                                                   §
  v.                                               §    Case No. 5:21-cv-844-XR
                                                   §
  GREGORY W. ABBOTT, et al.,                       §
       Defendants.                                 §




DECLARATION OF JONATHAN WHITE
          I, Jonathan White, pursuant to 28 U.S.C. 1746, am executing this declaration as part of my

assigned duties and responsibilities. I declare under penalty of perjury that the facts stated below

are true and correct to the best of my personal knowledge and belief.

       1. I am over 18 years of age, of sound mind, and otherwise competent to make this
          Declaration. The evidence set out in the foregoing Declaration is based on my personal
          knowledge.

       2. I am the former Division Chief of the Election Integrity Division of the Office of the
          Attorney General of Texas and submit this Declaration in support of the State’s Motion for
          Summary Judgment in the above-captioned case.

       3. I have been involved in election fraud prosecutions as some portion of my work since I
          started at the Attorney General’s office 15 years ago in the White Collar Crime and Public
          Integrity Section of the Criminal Prosecutions Division. Through the years, our election
          caseload expanded, resulting in the creation of an Election Fraud Section, and ultimately
          the Election Integrity Division. In that time, I have reviewed hundreds of investigations,
          and handled approximately 100 prosecutions, many of which were complex, involving
          multiple, if not dozens, of election offenses.

       4. The Election Integrity Division receives complaints about potential election fraud
          forwarded primarily from the Secretary of State’s office. Our investigators then determine
          whether the facts support an allegation of fraud, and, if warranted, the Election Integrity
          Division prosecutes the offenses or assists counties in prosecuting the offenses. This
          prosecution role has evolved somewhat since the end of 2022.



                                                   1
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5. During my tenure as Division Chief of the Election Integrity Division, I became familiar
   with the administration and operations of Texas elections, including the tasks, practices,
   and responsibilities that local Texas election authorities must fulfill; and the laws and
   regulations with which local election authorities must comply to plan, coordinate, manage,
   and execute a successful election.

6.




7.




8.




9.



10.




11.




                                            2
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12.




13.




14.




15.




                                      3
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16.

                                    the Court of Criminal Appeals’ ruling in State v. Zena
      Stephens, which declared the AG’s statutorily granted authority to prosecute election cases
      unconstitutional.

17. All mail ballots, due to their nature of being handled and voted outside of a polling location,
                                                                           In the polling location,
    in-person voters have election judges and poll watchers to make sure that there is no
    electioneering; no harassment, pressure, or persuasion being placed on the voter to vote a
    certain way; that no one is marking the voter’s ballot without authorization; and that the
    vote is actually turned in, counted, and not altered by any person. Paid operatives are not
    allowed to loiter in the polling place, or to collect ballots from voters and remove them
    from the polling place, with a promise to turn them in later on behalf of the voter.
                                                                . There are laws prohibiting many
    of these bad acts,




18.




                                                              The City of Carrolton spans three
      different counties,


19.




20.


                                               4
      Case 5:21-cv-00844-XR Document 1129-1 Filed 04/29/24 Page 6 of 44




21.




22.
                                                                                              Once
      processed and removed from their envelopes, ballots are entirely anonymous and
      untraceable. They cannot be identified for removal from counting. Additionally, once a
      voter requests a mail ballot, they are unable to vote at a polling place without surrendering
      their mail ballot or going to election headquarters to file paperwork, including a sworn
      affidavit.




23.




24.




25.




                                                5
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26.




27.




28.




29.




30.




                                      6
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31.




32.




33. Prior to SB1, one requirement intended to protect the integrity of the mail ballot was
    comparing the signature on the carrier envelope with the signature on the application for
    ballot by mail or another signature on file.



34.




35.




                                            7
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36.




37.




38.




39.                                                                               in
      Gregg County.


                                  Shannon Brown, Marlena Jackson, Charlie Burns, and

                                      8
  Case 5:21-cv-00844-XR Document 1129-1 Filed 04/29/24 Page 10 of 44




      DeWayne Ward were indicted and pled guilty to election fraud




40. SB1 requires a voter to provide an ID number (either a driver’s license, Texas ID, election
    identification certificate, DPS-issued personal identification card number, or the last 4
    digits of an SSN) in order to apply for and cast a ballot by mail.




41.




42.



43.




44.



45.




                                             9
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                Transcript of the Testimony of
                         Michael Scarpello


                                  Date:
                             May 04, 2022



                                  Case:
LA UNION DEL PUEBLO ENTERO et al. vs GREGORY W. ABBOTT
          Case 5:21-cv-00844-XR Document 1129-1 Filed 04/29/24 Page 13 of 44
     Michael Scarpello                                                       May 04, 2022
                                                                                        ·


·1· · · · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · · SAN ANTONIO DIVISION

·3· · LA UNION DEL PUEBLO ENTERO )
· · · et al.,· · · · · · · · · · )
·4· · · · ·Plaintiffs,· · · · · ·)
· · · · · · · · · · · · · · · · ·) Civil Action No. SA-21-cv-
·5· · v.· · · · · · · · · · · · ·)· · · ·00844-XR
· · · · · · · · · · · · · · · · ·) (Consolidated Cases)
·6· · STATE OF TEXAS, et al.,· · )
· · · · · ·Defendants.· · · · · ·)
·7

·8

·9· · · · · · ----------------------------------------

10· · · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF
· · · · · · · · · · · · · MICHAEL SCARPELLO
11· · · · · · · · · · · · · ·MAY 4, 2022
· · · · · · · · · · · · · · · Volume 1
12
· · · · · · · ·---------------------------------------
13

14

15· · · · · · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF MICHAEL

16· · SCARPELLO produced as a witness at the instance of

17· · Plaintiff, and duly sworn, was taken in the above-styled

18· · and numbered cause on the 4th day of May, 2022 from 10:21

19· · a.m. to 1:11 p.m. before Nancy Newhouse, a Certified

20· · Shorthand Reporter in and for the State of Texas,

21· · reported by oral shorthand, located at the Dallas County

22· · Records Building, 500 Elm Street, Suite 6300, Dallas,

23· · Texas 75202, pursuant to the Federal Rules of Civil

24· · Procedure, and the provisions stated on the record or

25· · attached hereto.


     Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
     210-697-3400                                                             210-697-3408
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Michael Scarpello                                                                                                       May 04, 2022
                                                                                                                      Pages 18 to 21
                                                            Page 18                                                               Page 20
·1· · manipulation?                                                   ·1· · · · · · · · · ·MR. THOMPSON:· Of course.
·2· · · · ·A.· ·Well, I think that's -- I think the                   ·2· · · · ·Q.· ·(BY MR. THOMPSON)· Mr. Scarpello, can you see
·3· · legislature has prescribed rules to -- to protect               ·3· · Exhibit 2 in front of you?
·4· · voters, and I follow the rules.                                 ·4· · · · ·A.· ·Yes.
·5· · · · ·Q.· ·Which rules do you think help protect voters          ·5· · · · ·Q.· ·In the bottom right-hand corner does it have a
·6· · from manipulation, just a couple of examples, perhaps?          ·6· · Bates stamp that says "MS007415"?
·7· · · · ·A.· ·Sure.· Privacy of in -- in the ballot booth,          ·7· · · · ·A.· ·Yes.
·8· · for instance, so that you don't have someone standing           ·8· · · · ·Q.· ·Do you recognize Exhibit 2?
·9· · over your shoulder, telling you who to vote for; the            ·9· · · · ·A.· ·Yes.
10· · 100-foot rule to keep people away from a polling place          10· · · · ·Q.· ·At the bottom of Exhibit 2, it appears to show
11· · as -- as far as in electioneering.                              11· · an email from someone named Zachary J. Bowen to you, is
12· · · · ·Q.· ·So you mentioned that the rules regarding             12· · that right?
13· · privacy in the ballot booth help ensure that a voter            13· · · · ·A.· ·Yes.
14· · won't be kind of told who to vote for by someone else,          14· · · · ·Q.· ·Who is Zachary J. Bowen?
15· · is that right?                                                  15· · · · ·A.· ·He's a -- I don't know what his pos -- I know
16· · · · ·A.· ·Yes.                                                  16· · he's a special agent for Secret Service, well,
17· · · · ·Q.· ·Are you familiar with instances in which              17· · Diplomatic Security Service.
18· · someone has tried to tell voters who to vote for in --          18· · · · ·Q.· ·Now, it looks to me like he wanted to meet
19· · in an inappropriate way?                                        19· · with you to discuss voter fraud, is that right?
20· · · · ·A.· ·No.                                                   20· · · · ·A.· ·Yes.
21· · · · ·Q.· ·And the rules around privacy and other things         21· · · · · · · · · ·MR. STOOL:· I'm going to object top any
22· · help make sure that doesn't happen?                             22· · further questioning in this area on the grounds of law
23· · · · ·A.· ·Yes.                                                  23· · enforcement privilege.· I understand you have the email,
24· · · · ·Q.· ·A couple of things to confirm, you are not a          24· · and so you have that, but with regard to any
25· · criminal prosecutor, are you?                                   25· · conversations that Agent -- Special Agent Bowen or

                                                           Page 19                                                                   Page 21
·1· · · · ·A.· ·No.                                                   ·1· · anybody else with the federal government had concerning
·2· · · · ·Q.· ·You don't have the authority to put anyone in         ·2· · this matter, I'll have to object to that on the grounds,
·3· · jail for violating a criminal law, right?                       ·3· · privilege of law enforcement privilege.
·4· · · · ·A.· ·No.                                                   ·4· · · · · · · · · ·MR. THOMPSON:· Well, let's see if I can
·5· · · · ·Q.· ·Do you have the authority to file civil               ·5· · ask some questions that you think aren't covered by
·6· · enforcement actions related to violations of the                ·6· · privilege, but maybe just to --
·7· · Election Code?                                                  ·7· · · · · · · · · ·MR. STOOL:· Uh-huh.
·8· · · · ·A.· ·No.                                                   ·8· · · · · · · · · ·MR. THOMPSON:· -- for me to understand
·9· · · · ·Q.· ·I'm going to set aside Exhibit 1, if you could        ·9· · what's going on here.
10· · just keep it somewhere near here for the court reporter,        10· · · · · · · · · ·Whose privilege are we talking about
11· · eventually?                                                     11· · right now, is this a privilege that, like, is -- I don't
12· · · · · · · · · ·MR. THOMPSON:· I'm going to mark Exhibit         12· · know, could you tell me about the privilege we're
13· · 2.                                                              13· · talking about?
14· · · · · · · · · ·(Defendant's Exhibit No. 2 was marked for        14· · · · · · · · · ·MR. STOOL:· It would be law enforcement
15· · identification.)                                                15· · priv -- law enforcement privilege with regard to the
16· · · · · · · · · ·MS. PERALES:· Oh, I get one this time.           16· · Diplomatic Security Service of the Federal Government,
17· · · · · · · · · ·MR. THOMPSON:· Oh.                               17· · is whatever conversations that Mr. Scarpello has had
18· · · · · · · · · ·MS. PERALES:· Did you have Exhibit 1 for         18· · with them, I -- I would need to assert that, because I
19· · me?                                                             19· · don't know what they are.
20· · · · · · · · · ·MR. THOMPSON:· Oh yeah, I'm sorry. I             20· · · · · · · · · ·I mean, I -- I don't know exactly what
21· · didn't even realize --                                          21· · else is behind this, but if -- if it's an investigation
22· · · · · · · · · ·MS. PERALES:· Well, thank you.                   22· · being conducted, and -- and I'm just looking at this,
23· · · · · · · · · ·MR. THOMPSON:· -- you didn't get a copy,         23· · says "federal criminal investigation", then it would be
24· · hate to leave you out.                                          24· · a privilege to not disclose matters of a federal
25· · · · · · · · · ·MS. PERALES:· Thank you so much.                 25· · criminal investigation, that privilege under law


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210-697-3400                                                                                                     210-697-3408                  YVer1f
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Michael Scarpello                                                                                                        May 04, 2022
                                                                                                                       Pages 54 to 57
                                                               Page 54                                                               Page 56
·1· · context of mail-in voting compared to in-person voting?            ·1· · level.
·2· · · · ·A.· ·I would speculate that it's higher.· I have no           ·2· · · · ·Q.· ·So let's start with the Dallas County one.
·3· · evidence to point to that.                                         ·3· · · · · · · · · ·The Dallas County voter file would
·4· · · · ·Q.· ·Are you familiar with any other public                   ·4· · contain the names and addresses of registered voters in
·5· · officials elected from the State of Texas who've made              ·5· · Dallas County, right?
·6· · that claim?                                                        ·6· · · · ·A.· ·Yes.
·7· · · · ·A.· ·No.                                                      ·7· · · · ·Q.· ·Do you know whether the Dallas County voter
·8· · · · ·Q.· ·Okay.· So we say -- we just established that             ·8· · file is publically available?
·9· · there is some level of risk that is there for that                 ·9· · · · ·A.· ·It is.
10· · someone will try to vote under someone else's name, even           10· · · · ·Q.· ·So putting all that together, is it fair to
11· · if we don't know how high it is.                                   11· · say that the information -- excuse me, the identifying
12· · · · · · · · · ·So regardless of how high it is, do you             12· · information that a voter had to fill out on an
13· · think that requiring identification numbers, either a              13· · application to vote by mail before SB 1 took effect was
14· · driver's license, or the last four digits of the social            14· · all publically available?
15· · security number, to vote by mail, will increase or                 15· · · · ·A.· ·Yes.
16· · decrease the risk of someone voting under someone else's           16· · · · ·Q.· ·How has the application to vote by mail
17· · name?                                                              17· · changed, in terms of what information it requires, since
18· · · · · · · · · ·MS. PERALES:· Objection.                            18· · SB 1 took effect?
19· · · · ·A.· ·I don't know.                                            19· · · · ·A.· ·Now, a voter has to include their driver's
20· · · · ·Q.· ·(BY MR. THOMPSON)· Are you familiar with an --           20· · license or last four digits of their social security
21· · with the form that is often used to apply for a ballot             21· · number, and that information on their application has to
22· · by mail?                                                           22· · match up to the information on their voter registration.
23· · · · ·A.· ·Yes.                                                     23· · · · ·Q.· ·The voter file doesn't contain voters'
24· · · · ·Q.· ·Do you know what information is required on              24· · driver's license numbers, right?
25· · that form?                                                         25· · · · ·A.· ·Can you repeat the question?

                                                           Page 55                                                                  Page 57
·1· · · · ·A.· ·Yes.                                                     ·1· · · · ·Q.· ·Do you know whether the voter file contains
·2· · · · ·Q.· ·Before SB 1 took effect, is it fair to say               ·2· · driver's license numbers for the voters listed?
·3· · that the information required on that form, that                   ·3· · · · ·A.· ·It does for some, for -- for most people.
·4· · identifies the requesting voter, was all publicly                  ·4· · · · ·Q.· ·Are you sure about that?
·5· · available?                                                         ·5· · · · ·A.· ·Can you ask me the question again?
·6· · · · ·A.· ·I don't know.                                            ·6· · · · ·Q.· ·I'm talking about driver's license numbers.
·7· · · · ·Q.· ·Now, let's --                                            ·7· · · · ·A.· ·Uh-huh.
·8· · · · ·A.· ·I don't recall.                                          ·8· · · · ·Q.· ·Perhaps I am just mistaken, but my
·9· · · · ·Q.· ·Let's break it down.                                     ·9· · understanding is I could not discover your driver's
10· · · · · · · · · ·The application to vote by mail before              10· · license number, for example, by requesting the Dallas
11· · SB 1 required a voter's name, right?                               11· · County voter file and pulling up your name?
12· · · · ·A.· ·Yes.                                                     12· · · · ·A.· ·So we -- we have a different understanding of
13· · · · ·Q.· ·And it required the voter's address, right?              13· · voter file.· We have the voter file that -- that we
14· · · · ·A.· ·Yes.                                                     14· · maintain, contains driver's license numbers.· A voter
15· · · · ·Q.· ·Do you know whether it required any other                15· · file that someone would purchase, is releasable, it
16· · identifying information?                                           16· · would not contain that.
17· · · · ·A.· ·I don't think so.                                        17· · · · ·Q.· ·I'm sorry, that -- that's my fault for asking
18· · · · ·Q.· ·Are you familiar with the term voter file?               18· · the question in a poor way.· I'm trying to ask about the
19· · · · ·A.· ·Uh-huh.                                                  19· · version of the voter file that is publically available.
20· · · · ·Q.· ·What is the voter file?                                  20· · · · ·A.· ·Okay.
21· · · · ·A.· ·The voter file is -- well, which voter file?             21· · · · ·Q.· ·And this is a document that political
22· · I mean, there -- there is a county voter file, the --              22· · campaigns request --
23· · the list of registered voters that we maintain in Dallas           23· · · · ·A.· ·Right.
24· · County, which is also imported or merged with other                24· · · · ·Q.· ·-- for example?
25· · counties at the state level, and maintained at the state           25· · · · · · · · · ·Right.· And other people can request it?

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Michael Scarpello                                                                                                     May 04, 2022
                                                                                                                    Pages 58 to 61
                                                           Page 58                                                                 Page 60
·1· · · · ·A.· ·Yes.                                                  ·1· · · · ·A.· ·Well, we have to be more specific.· Cure
·2· · · · ·Q.· ·With regard to the publically-available               ·2· · processes regarding applications, or -- or regarding
·3· · version of the voter file, does it contain voters'              ·3· · ballots?
·4· · driver's license numbers?                                       ·4· · · · ·Q.· ·Right.· So I -- I just wanted to understand
·5· · · · ·A.· ·Yes.· I mean no, no.                                  ·5· · the process for both, actually, and I'm happy to ask you
·6· · · · ·Q.· ·That's okay.· Let's get it clear on the               ·6· · more specifically, or however you want to handle it.
·7· · record.                                                         ·7· · · · ·A.· ·Yeah.· Why don't you go ahead and ask me --
·8· · · · · · · · · ·The publically-available version of a            ·8· · · · ·Q.· ·Okay.
·9· · voter file doesn't contain voters' driver's license             ·9· · · · ·A.· ·-- more specifically.
10· · numbers, correct?                                               10· · · · ·Q.· ·Is there a cure process for applications for a
11· · · · ·A.· ·Correct.                                              11· · ballot by mail?
12· · · · ·Q.· ·And the publically-available version of the           12· · · · ·A.· ·Yes.
13· · voter file doesn't contain voters' social security              13· · · · ·Q.· ·Does it come into play when an application is
14· · numbers, correct?                                               14· · otherwise going to be rejected?
15· · · · ·A.· ·Correct.                                              15· · · · ·A.· ·Yes.
16· · · · ·Q.· ·Those are personally-identifying numbers that         16· · · · ·Q.· ·What can a voter do to cure an application to
17· · Dallas County doesn't disclose to the public, right?            17· · vote by mail that would otherwise be rejected?
18· · · · ·A.· ·Correct.                                              18· · · · ·A.· ·They can -- if they -- if they're missing --
19· · · · ·Q.· ·So now, after SB 1, the application to vote by        19· · well, it depends on what the -- the -- the flaw in the
20· · mail requires a voter to provide information that is not        20· · application is.· If they haven't signed, they need to
21· · publically available, correct?                                  21· · sign.· If they haven't provided one of those two numbers
22· · · · ·A.· ·Correct.                                              22· · that we spoke of, they have to provide one of those
23· · · · ·Q.· ·Given that, is it fair to say that SB 1 has           23· · numbers.
24· · made it more difficult for anyone to successfully               24· · · · · · · · · ·There is a cure process, in theory,
25· · request an application to vote by mail, using someone           25· · that's supposed to work from -- to -- to have them go to

                                                            Page 59                                                            Page 61
·1· · else's information?                                             ·1· · the State's mail ballot tracking application, and be
·2· · · · · · · · · ·MS. PERALES:· Objection.                         ·2· · able to cure through that.· That -- though, that has
·3· · · · ·A.· ·Probably.                                             ·3· · been highly problematic, especially in counties what --
·4· · · · · · · · · ·MR. THOMPSON:· What was the objection,           ·4· · what are called offline counties.
·5· · Nina?                                                           ·5· · · · ·Q.· ·There are other options for curing as well?
·6· · · · · · · · · ·MS. PERALES:· Well, I'm limited by the           ·6· · · · ·A.· ·Yes.
·7· · Rules in terms of what --                                       ·7· · · · ·Q.· ·Do those involve, for example, a voter coming
·8· · · · · · · · · ·MR. THOMPSON:· But you're not if I ask.          ·8· · to the Dallas County Elections Office?
·9· · · · · · · · · ·MS. PERALES:· So, you know, I think it's         ·9· · · · ·A.· ·Yes.
10· · vague.· The witness answered, so objection, form, vague.        10· · · · ·Q.· ·Have any voters come to the Dallas County
11· · · · · · · · · ·MR. THOMPSON:· Okay.                             11· · Elections Office as part of the cure process?
12· · · · · · · · · ·MS. PERALES:· I think it's probably also         12· · · · ·A.· ·Yes.
13· · outside the scope of the witness' knowledge.                    13· · · · ·Q.· ·Do you know whether they were able to
14· · · · ·Q.· ·(BY MR. THOMPSON)· Are you familiar with the          14· · successfully cure issues with applications to vote by
15· · cure process established by SB 1?                               15· · mail?
16· · · · ·A.· ·Yes.                                                  16· · · · ·A.· ·Yes.
17· · · · ·Q.· ·Are you implementing the cure process in              17· · · · ·Q.· ·Did they successfully cure those issues?
18· · Dallas County?                                                  18· · · · ·A.· ·Yeah.· And I don't have those numbers.
19· · · · ·A.· ·The Ballot Board is implementing the cure             19· · · · ·Q.· ·Do you have any high-level understanding of
20· · process.                                                        20· · how often they were successful?
21· · · · ·Q.· ·Do you know how the Ballot Board is                   21· · · · ·A.· ·No.
22· · implementing the cure process?                                  22· · · · ·Q.· ·All right.· So we were just talking about the
23· · · · ·A.· ·Yes.                                                  23· · application to vote by mail, and the cure process
24· · · · ·Q.· ·Can you tell me about it, just at a high              24· · related to that.
25· · level?                                                          25· · · · · · · · · ·There is also a cure process related to

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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                    STATE DEFENDANTS’ BRIEF IN RESPONSE TO
               THE UNITED STATES’ MOTION FOR SUMMARY JUDGMENT



                               APPENDIX AA
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            Transcript of the Testimony of
                      Jonathan White


                              Date:
                         May 05, 2022



                              Case:
LA UNION DEL PUEBLO ENTERO vs STATE OF TEXAS
          Case 5:21-cv-00844-XR Document 1129-1 Filed 04/29/24 Page 19 of 44
     Jonathan White                                                          May 05, 2022
                                                                                        ·


·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION

·3· LA UNION DEL PUEBLO· · · · · )
· · ENTERO, et al,· · · · · · · ·)
·4· · · · · · · · · · · · · · · ·)
· · · · · · · · · ·Plaintiffs,· ·)
·5· · · · · · · · · · · · · · · ·) CIVIL ACTION
· · VS.· · · · · · · · · · · · · )
·6· · · · · · · · · · · · · · · ·) NO.: 5:21-cv-844(XR)
· · STATE OF TEXAS, et al,· · · ·) (Consolidated Cases)
·7· · · · · · · · · · · · · · · ·)
· · · · · · · · · ·Defendants.· ·)
·8· · · · · · · · · · · · · · · ·)

·9· · · · · · ·-----------------------------------

10· · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF

11· · · · · · · · · · · ·JONATHAN WHITE

12· ·Designated Representative for the Office of the Texas

13· · · · · · · · · · · Attorney General

14· · · · · · · · · · · · ·MAY 5, 2022

15· · · · · · ·-----------------------------------

16· · · ·ORAL DEPOSITION OF JONATHAN WHITE, produced as a

17· witness at the instance of the DEFENDANTS, and duly

18· sworn, was taken in the above-styled and numbered cause

19· on May 5, 2022, from 10:02 a.m. to 4:06 p.m. before Miah

20· Parson, CSR in and for the State of Texas, reported by

21· oral stenography, at the Offices of the Attorney General

22· 300 W. 15th Street Austin, Texas 78701, pursuant to the

23· Federal Rules of Civil Procedure and the provisions

24· stated on the record or attached hereto.

25


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                                                                                         YVer1f
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Jonathan White                                                                                                   May 05, 2022
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·1· and incomplete hypothetical.                                   ·1· privilege, similar processes privilege, to the extent
·2· · · ·A.· I don't have a position on that very specific         ·2· you can respond without encroaching on those privileges,
·3· scenario to share.· I can say that we not entered into         ·3· you may do.· Otherwise I'm instructing you not to
·4· one of those agreements historically.                          ·4· answer.
·5· · · ·Q.· Thank you.· That was my next question.                ·5· · · ·A.· I know way of knowing if the attorney general
·6· · · ·A.· I knew it was.                                        ·6· would ever use it.· We have never used it in the past
·7· · · ·Q.· So if we could turn back to Exhibit No. 5             ·7· and as I previously testified here and before the
·8· which was Chapter 273 of the election code.· I'd like to       ·8· legislature is we always used a soft touch and a
·9· go to 273.022 which is also on Page 2 and I'll just read       ·9· cooperative approach with local prosecutors.· We'd never
10· it out slowly.· Title is cooperation with local                10· desired to step on a local prosecutor's toes or tried to
11· prosecutor.· The attorney general may direct the county        11· force them to do anything or be involved in anything
12· or district attorney serving the county in which the           12· that they didn't want to be.
13· offense is to be prosecuted to prosecute an offense that       13· · · ·Q.· Okay.· Thank you.· So handing you what I've
14· the attorney general is authorized to prosecute under          14· marked as Exhibit 8, which is a copy of SB1 enrolled.
15· Section 273.021 or to assist the attorney general in the       15· Just confirm that for me.
16· prosecution.· Did I read that correctly?                       16· · · · · · · · (Exhibit No. 8 marked.)
17· · · ·A.· Yes, sir.                                             17· · · ·A.· Yes, sir.
18· · · ·Q.· Has the OAG ever used this authority to direct        18· · · · · · · · MR. HUDSON:· In the interest of short
19· a county prosecutor to prosecute an offense without the        19· circuiting out objections on the document itself as he's
20· OAG's involvement?                                             20· asking questions.· Can you verify where you got it from
21· · · ·A.· Not to my recollection.                               21· and the reason I ask that is, is there's an actual
22· · · ·Q.· Has the OAG ever used this authority to direct        22· signed copy on the Secretary of States website.· I don't
23· a county prosecutor to assist the OAG in a prosecution?        23· know if this is the final enrolled copy or not.· Is
24· · · ·A.· I think my answer would be the same as it was         24· there any chance I can get you to clarify that?
25· to your similar question under Section 273.002 to the          25· · · ·Q.· (BY MR. DOLLING) I cannot remember exactly what

                                                         Page 91                                                           Page 93
·1· extent that we've ever done this we have never directed        ·1· the website is called, but it's the legislative look up
·2· a district attorney to prosecute or assist. It's               ·2· that's provided by the state on the capital website or
·3· possible that we may have mentioned this provision and         ·3· whatever it is.
·4· now refreshing my recollection that there are separate         ·4· · · · · · · · MR. HUDSON:· Thank you.
·5· provisions for investigations and prosecution, I'm not         ·5· · · ·Q.· (BY MR. DOLLING)· So, Mr. White, do you
·6· sure which is which, but if we ever used it would have         ·6· understand that when text is struck through it means
·7· been the same circumstances I described before as it           ·7· that SB1 removed that text from the law?
·8· would have been a soft touch.· It would have been a            ·8· · · ·A.· Yes, sir.
·9· request that we would not have pushed without agreement        ·9· · · ·Q.· And when text is underlined it means that the
10· of the district attorney.· And at most it would have           10· text was added by --
11· been a reference to a code section, but never a                11· · · ·A.· Yes.
12· mandatory directive.                                           12· · · ·Q.· Okay.· And then if we turn to Page 75
13· · · ·Q.· Okay.· And so I guess that means that the OAG         13· Section 10 -- oh sorry.· Wait for you to get there.
14· has never utilized this provision against a county             14· · · ·A.· Yes, sir.
15· prosecutor's wishes?                                           15· · · ·Q.· It says, Section 10.04 says, this act takes
16· · · ·A.· Exactly.· Not -- not used it per se, but it           16· effect on the 91st day after the last day of the
17· could have been referenced with regards to a request.          17· legislative session; is that correct?
18· · · ·Q.· Okay.                                                 18· · · ·A.· Yes, sir.
19· · · ·A.· It was not, you know, a directive or mandatory        19· · · ·Q.· And would you agree with me that that means
20· in nature.                                                     20· that SB1 took effect on December 2nd, 2021?
21· · · ·Q.· Would the OAG ever use this authority if a            21· · · ·A.· Sounds correct.
22· county prosecutor did not want to prosecute or assist          22· · · ·Q.· And so when I refer to the effective date of
23· with the -- in the -- the prosecution?                         23· SB1, I'm referring to December 2nd, 2021?
24· · · · · · · · MR. HUDSON:· Object as to attorney/client        24· · · ·A.· Yes, sir.
25· privilege, work product doctrine, investigative                25· · · ·Q.· So can we turn to Section 2.04 which is I think

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·1· receive specific to their work on violation of election         ·1· · · ·A.· Certainly.
·2· laws of Texas?                                                  ·2· · · ·Q.· And you testified a lot election security is on
·3· · · ·A.· I generally provide training to my group on the        ·3· the honor system.· Do you call testifying to that?
·4· election laws.· I'm not aware of any source such as             ·4· · · ·A.· Yes, ma'am.
·5· TDCAA, any source that provides election specific               ·5· · · ·Q.· What do you mean by that?
·6· training to prosecutors.                                        ·6· · · ·A.· If I check the box that's on a voter
·7· · · ·Q.· And those trainings that you provide to the            ·7· registration application and affirm and swear that I'm
·8· investigators within Election Integrity Unit do you             ·8· eligible to vote the system essentially in the past has
·9· sometimes use power points?                                     ·9· taken people at their word and register them to vote
10· · · ·A.· I dont.· They're generally one on one.                 10· vote and let them vote when they come to the pole and
11· · · ·Q.· Are there any written materials that are               11· let's the check in.· So voting in that sense in terms of
12· provided as training materials to those investigators?          12· eligibility has been primarily on the honor system.
13· · · ·A.· No, I don't believe.                                   13· · · ·Q.· And there are other kinds of government
14· · · ·Q.· You testified that the Election Integrity              14· benefit's or processes that operate on the honor system
15· Division was stood up as an independent division because        15· as well, correct?
16· the Election Integrity issues are so complex or at least        16· · · · · · · · MR. HUDSON:· ·Objection; form.· Foundation.
17· that's one of the reasons; is that correct?                     17· · · ·A.· I sort of stay in my lane of Election Integrity
18· · · ·A.· It's a specialized field.                              18· you may be right.
19· · · ·Q.· Would you recall whether you had desribed it as        19· · · ·Q.· (BY MS. OLSON)· So you simply don't know if
20· complex before?                                                 20· there are other torts, for example, Social Security
21· · · ·A.· They are complex cases.                                21· applications that might operate on the honor system.
22· · · ·Q.· And I think you then -- explaining the term            22· · · · · · · · MR. HUDSON:· Objection; form.· Foundation
23· complex to Mr. Dolling said that voting takes place in a        23· Objection.· Outside of the scope.
24· block box.· Do you recall that?                                 24· · · ·A.· I think what you're saying may be true. I
25· · · ·A.· I do recall that.                                      25· don't have enough experience with the system to know

                                                         Page 143                                                            Page 145
·1· · · ·Q.· What do you mean by voting takes place in a            ·1· where the gaps are and how easy they are to fit through.
·2· black box?                                                      ·2· · · ·Q.· (BY MS. OLSON)· And so it may be that the
·3· · · ·A.· Well, what I testified in terms of the secrecy         ·3· election security being on the honor system is no
·4· of the ballot provides a certain shroud around the              ·4· different than in a lot oh other circumstances where
·5· voting process that's protected.· We generally don't            ·5· conduct is on the honor system?
·6· have or didn't used to have cameras in the polling place        ·6· · · · · · · · MR. HUDSON:· Same objections.
·7· particularly with the mail balloting process.· Mail             ·7· · · ·A.· It sounds like -- it sounds like the examples
·8· ballots operate in an uncontrolled environment.                 ·8· that your giving may be similar examples that may be
·9· Someone's home, there's no election officials around.           ·9· investigated and prosecuted federally, but maybe not on
10· So there -- there's quite a bit of the process that is          10· a state level on some of those.
11· not really outfitted with a whole lot of security               11· · · ·Q.· (BY MS. OLSON) Have you ever prosecuted any
12· features at least historically speaking.                        12· benefit fraud cases on the state level?
13· · · ·Q.· That's not any different from some other kind          13· · · ·A.· I haven't.
14· of fraud, correct?                                              14· · · ·Q.· And so it might be the same on the state level
15· · · ·A.· I think it might be.                                   15· someone filled out a form indicating that they're
16· · · ·Q.· Well, for example, if you had a caregiver who's        16· eligible for some sort of state benefit that also might
17· taking care of another person some reason and has their         17· be done on the honor system, correct?
18· power of attorney that person would have the ability to         18· · · · · · · · MR. HUDSON:· Same objections.
19· embezzle funds or take funds with really hardly any             19· · · ·A.· I haven't heard of state prosecutions for
20· oversight, correct.                                             20· benefits fraud.
21· · · ·A.· Correct.· Particularly if that person had              21· · · ·Q.· (BY MS. OLSON)· So you just don't have any
22· dementia or something like that that might be very              22· knowledge one way or the other whether that would be an
23· similar to what we see.                                         23· appropriate example or appropriately similar to being
24· · · ·Q.· So there's other· similar kinds of investment          24· something that's on the honor system similar to election
25· challenges and other kind of criminal activity, correct?        25· security?


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                                                                                                            Pages 146 to 149
                                                       Page 146                                                            Page 148
·1· · · ·A.· Correct I haven't really seen those cases in          ·1· credible allegations of a violation of the election
·2· 14 years.                                                      ·2· code.· Do you recall that question?
·3· · · ·Q.· You indicated that there were also complexities       ·3· · · ·A.· Yes, I believe I do.
·4· in the prosecution of election law cases; is that              ·4· · · ·Q.· And I think your answer was yes that the policy
·5· correct?                                                       ·5· of the office of the attorney general to investigate all
·6· · · ·A.· Yes, ma'am.                                           ·6· credible allegations; is that right?
·7· · · ·Q.· And I think you talked about how there were           ·7· · · · · · · · MR. HUDSON:· Objection; form.· Foundation
·8· often times in a matter that was investigated there            ·8· objection.· Remind you the stipulation concerning his
·9· could be hundred of ballots affected, for example,             ·9· presentation on responding to that tweet.
10· correct?                                                       10· · · · · · · · MS. OLSON:· Well, with respect to your
11· · · ·A.· Yes.                                                  11· objection,· Mr. Hudson, Mr. Dollings question that I
12· · · ·Q.· And that the conviction stage you typically           12· repeated back was asked in a much earlier portion of the
13· didn't hold that number because you couldn't get every         13· deposition.
14· witness every voter and they may not be able to identify       14· · · ·Q.· So do you recall that prior to being asked
15· the person who came and got the ballot from them is that       15· about the tweet, do you recall Mr. Dollig's question, is
16· a fair summary of what you testified to before?                16· it fair to say that the office of the Attorney General
17· · · ·A.· I think so more or less.                              17· has a policy of investigating all credible allegations
18· · · ·Q.· And some of your cases have been resolved by a        18· of a violation of the election code?
19· plea agreement; is that correct?                               19· · · ·A.· I do remember that question.
20· · · ·A.· Yes, ma'am.                                           20· · · ·Q.· And do you recall what your answer was?
21· · · ·Q.· And that doesn't require any witness to take          21· · · ·A.· I think I do.
22· the stand?                                                     22· · · ·Q.· And what was your answer?
23· · · ·A.· That's correct.                                       23· · · ·A.· I think I answered that, I was not prepared to
24· · · ·Q.· And what has been the largest number of               24· make a policy statement by the Attorney General's office
25· harvested ballots in a case of conviction whether by           25· on that specific language, but that our practice in the

                                                        Page 147                                                           Page 149
·1· trial or by plea?                                              ·1· Election Integrity Division is to or Election Integrity
·2· · · ·A.· And do you mean.                                      ·2· Unit evaluates every credible complaint, then determines
·3· · · ·Q.· For a single Defendant what is the -- based on        ·3· whether to proceed with an investigation and that we do
·4· your knowledge of these cases, what is the highest             ·4· not blanket, exclude any specific type of case we don't
·5· number of ballots that someone has plead guilty to or          ·5· have a standing policy that we actually filter out
·6· been convicted of harvesting?                                  ·6· cases.
·7· · · ·A.· I don't know that off the top of my head, but         ·7· · · ·Q.· And I think the term credible allegations was
·8· it would probably be a small number.                           ·8· actually Mr. Dolling's term, but is there a phrase where
·9· · · ·Q.· Even if it were a conviction by way of a plea         ·9· a standard practice is used by the Election Integrity
10· agreement?                                                     10· unit to assess whether somethings a credible allegation?
11· · · ·A.· Correct.· Normally.· Normally that's how plea         11· · · · · · · · MR. HUDSON:· Objection; form.
12· agreements work.                                               12· Argumentative.
13· · · ·Q.· Is it fair to say when you say normally that's        13· · · ·A.· I don't believe there's a defined standard for
14· how plea agreements work, what do you mean?                    14· what credible is.
15· · · ·A.· One of the primary negotiation terms in a plea        15· · · ·Q.· (BY MS. OLSON)· And, for example, I'll tell you
16· would be to get the number of counts down to one that's        16· that in some prosecutors offices or some investigating
17· what a defense attorney would be looking to get the            17· officers the standard is if the facts as alleged would
18· number of offenses the Defendant is pleading guilty to         18· make out a violation of the statute they will initiate
19· to down to one.· And usually a lower level of offense.         19· an investigation.· So is there anything like that a
20· · · ·Q.· But then that's all they're convicted of,             20· standard that is used when reviewing and complaint a
21· correct?                                                       21· standard that is used by the Election Integrity Unit· to
22· · · ·A.· That's correct.                                       22· determine whether or not it's going to move forward on
23· · · ·Q.· I think, Mr. Dolling asked you the question,          23· investigation?
24· his question was, is it fair to say that the office of         24· · · ·A.· Not as such that's a very baseline standard.
25· the attorney general ahs a policy of investigating all         25· We would have that standard in place because if a


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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                    STATE DEFENDANTS’ BRIEF IN RESPONSE TO
               THE UNITED STATES’ MOTION FOR SUMMARY JUDGMENT



                               APPENDIX BB
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                    STATE DEFENDANTS’ BRIEF IN RESPONSE TO
               THE UNITED STATES’ MOTION FOR SUMMARY JUDGMENT



                                APPENDIX W
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              UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF TEXAS
                   SAN ANTONIO DIVISION


LA UNIÓN DEL PUEBLO ENTERO,         *
et al.,                             *
         Plaintiffs,                *
                                    *
v.                                  *   Civil Action No.
                                    *   5:21-cv-844 (XR)
STATE OF TEXAS, et al.,             *
         Defendants.                *



****************************************************

      ORAL AND VIDEOTAPED 30(b)(6) DEPOSITION OF
       THE DALLAS COUNTY ELECTIONS ADMINISTRATOR
        THROUGH ITS DESIGNATED REPRESENTATIVE,
                   MICHAEL SCARPELLO
                    APRIL 13, 2023

****************************************************



                 DEPOSITION of MICHAEL SCARPELLO,

produced as a witness at the instance of the

Plaintiffs, and duly sworn, was taken in the

above-styled and numbered cause on the 13th day of

April, 2023, from 10:20 a.m. to 2:25 p.m., before

Christy R. Sievert, CSR, RPR, in and for the State

of Texas, reported by machine shorthand, at the

offices of the Dallas County Records Building, 500

Elm Street, Dallas, Texas, pursuant to the Federal

Rules of Civil Procedure and the provisions stated

on the record or attached hereto.
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                                                            18                                                               20
 1   2022 general election, correct?                              1   I think an 8.5 by 11 or -- 8.5 by 14-inch insert
 2      A. Correct.                                               2   with verbiage from top to bottom, as well as the
 3      Q. Did you use the same polling places for                3   vote by mail envelope being chock-full of verbiage
 4   early voting that you did for election day?                  4   also. And it's been my experience that when you do
 5      A. We used a certain amount of polling places             5   that -- when you have that sort of thing, no one
 6   for early voting and then additional -- then used            6   reads anything, and, thus, the compliance with those
 7   those also plus additional ones for election day. I          7   rules is -- is not good.
 8   think it was 50 early voting places and 469 election         8          And so what we did is we summarized on
 9   day.                                                         9   a -- we put on a pink sheet step-by-step
10      Q. And on election day, were you polling                 10   instructions to help voters understand what the
11   places vote centers?                                        11   requirements were. And using kind of the best
12      A. Yes.                                                  12   practices, plain language, getting it down to a, you
13      Q. And for early voting, were your 50 polling            13   know, fifth, sixth grade level so that people can
14   places, 50ish, were they vote centers as well?              14   understand what they need to do to return that mail
15      A. Yes.                                                  15   ballot.
16      Q. And it's correct to say that you used vote            16       Q. And so did you have a name for that insert?
17   by mail for certain voters for the 2022 general             17   What did you call that insert?
18   election, correct?                                          18       A. Abbreviated instructions.
19      A. Yes.                                                  19       Q. Who created the abbreviated instructions?
20      Q. Do you know approximately what percent of             20       A. I did.
21   ballots were cast by mail in the 2022 general               21       Q. And did you work with other members of your
22   election?                                                   22   staff --
23      A. I do not. I don't recall.                             23       A. Yes.
24      Q. Did you send applications for ballot by               24       Q. -- in consultation?
25   mail for the 2022 general to any voters who had not         25       A. Yes.




                                                            19                                                               21
 1   requested an application --                                  1      Q. Did the abbreviated instructions address
 2       A. No.                                                   2   the requirement to provide an identification number
 3       Q. -- for ballot by mail?                                3   on the mail ballot --
 4       A. No.                                                   4      A. Yes.
 5       Q. Do you know whether in 20- -- do you know             5      Q. -- material?
 6   whether your practice in the 2022 general election           6         Did you instruct the voter to provide one
 7   of not sending unsolicited ABBMs was different than          7   ID number or two ID numbers?
 8   Dallas County's practice in 2020?                            8      A. We instructed them to -- we advised them to
 9       A. I don't believe so.                                   9   provide both numbers.
10       Q. For the 2022 general election, did you               10      Q. Does the Secretary of State's material
11   include any inserts along with either ABBMs or mail         11   advise the voter to provide both?
12   ballots that were intended to inform voters about           12      A. I don't recall, but I don't think so.
13   requirements under SB1?                                     13      Q. Did you provide the abbreviated
14       A. Yes.                                                 14   instructions sheet in languages other than English?
15       Q. Can you tell me about those inserts?                 15      A. I believe so. I can't remember, but I -- I
16       A. The Texas ABBM -- this is in the -- in the           16   believe so, yes.
17   mail ballot packet, if that's what you're referring         17      Q. Would Ms. Tacoma Phillips know?
18   to.                                                         18      A. Yes.
19       Q. Either. Either you included it when you              19      Q. I will ask her that question.
20   sent someone an application for ballot by mail or           20         Did the Secretary of State provide you
21   you included it when you sent someone the mail              21   guidance on including additional materials in your
22   ballot packet?                                              22   mail ballot packet to assist voters in meeting the
23       A. Okay. In the mail ballot packet, we find             23   new ID requirements?
24   that the items provided by the Secretary of State,          24      A. No.
25   the required items are incredibly user unfriendly.          25      Q. Did you send any similar inserts to voters




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 1      A. Yes.                                                    1   rejection rate compared to the primary elections,
 2      Q. And do you recall saying that the turnout               2   correct?
 3   rate for mail voting as compared to overall voting            3      A. Correct.
 4   was down in November 2022?                                    4      Q. And it was able to reduce its rejection
 5      A. That's my -- my vague memory of it is yes.              5   rates as compared to the primary runoff and the May
 6      Q. Okay. What did you mean by "previous                    6   election, correct?
 7   elections"? What was your comparison?                         7      A. Correct.
 8      A. Well, prior to going into an election, I                8      Q. And you -- Dallas County will be continuing
 9   talked about how we project and we do our                     9   to work to reduce the number of rejection rates in
10   projections. So we look at similar type of                   10   elections going forward, correct?
11   elections over the last several years. And not only          11      A. Correct.
12   the overall turnout but turnout by type and then             12      Q. You still have rejections due to lack of
13   turnout by location. My general impression is that           13   signature, mismatched signature or statement of
14   vote by mail, we -- the projections weren't -- the           14   residence; is that correct?
15   actual numbers weren't as high as we projected based         15      A. Yes.
16   off of historic turnout.                                     16      Q. Will you be working to decrease those
17      Q. Do you know if these voters would have                 17   rejections as well?
18   voted in person?                                             18      A. Yes.
19      A. Don't know.                                            19      Q. Do you know what the cure process was
20      Q. And when you said you were looking at the              20   perSB1?
21   past elections in your analysis for projection, was          21      A. I'm vaguely familiar with it.
22   that looking at midterm elections, or did that also          22      Q. Do you expect the rejection rate to ever be
23   include looking at presidential?                             23   zero?
24      A. We look at all elections but focus on the              24      A. Rejection rate for applications or carrier
25   similar type of election. But I will say that                25   envelopes?




                                                            131                                                              133
 1   there's -- there's no so many factors that play into          1      Q. Carrier envelopes.
 2   turnout, that it's -- it's an art as much as it is a          2      A. No.
 3   science.                                                      3             THE STENOGRAPHER: I'm sorry, your
 4      Q. So I guess I'm just trying to understand                4   answer?
 5   your -- your answer. Is it that the rate was not as           5             THE WITNESS: No.
 6   high as you projected, or is it down compared to              6      A. And I'll elaborate. No, under the current
 7   previous elections?                                           7   law.
 8      A. I don't know that it's down compared to                 8   BY MS. HUNKER:
 9   previous elections. I can very easily pull up that            9      Q. Do you think that the rejection rate due to
10   information. I just don't recall. My general                 10   lack of signature will ever be zero?
11   impression was that it was down.                             11      A. No.
12      Q. Do you recall telling counsel you thought              12      Q. Do you think the rejection rate regarding
13   the rejection rate was too high?                             13   mismatched signature will ever be zero?
14      A. Yes.                                                   14      A. No.
15      Q. So I kind of want to understand what your              15      Q. And do you think that the rejection rate
16   baseline is. So in your mind, what should the                16   do -- voters not including required statement of
17   rejection be?                                                17   residence will ever be zero?
18      A. It should be zero.                                     18      A. No.
19      Q. Would you then consider a 1 percent                    19      Q. You talked with counsel about the
20   rejection rate to be too high?                               20   abbreviated insert, correct?
21      A. I think any rejection rate is too high.                21      A. Yes.
22      Q. Are you aware of any election that had a               22      Q. Did you include a type of abbreviated
23   zero percent rejection rate?                                 23   insert prior to SB1?
24      A. No.                                                    24             MS. PERALES: Objection; asked and
25      Q. Dallas County was able to reduce its                   25   answered.




                                          Integrity Legal Support Solutions
                                              www.integritylegal.support
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                    STATE DEFENDANTS’ BRIEF IN RESPONSE TO
               THE UNITED STATES’ MOTION FOR SUMMARY JUDGMENT



                                APPENDIX X
          Case 5:21-cv-00844-XR Document 1129-1 Filed 04/29/24 Page 29 of 44
     Anne Scott                                                           April 18, 2023
                                                                                       ·


·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3

·4· ·LA UNION DEL PUEBLO ENTERO,· ·)(
· · ·et al.· · · · · · · · · · · · )(
·5· · · · · · Plaintiffs· · · · · ·)(
· · · · · · · · · · · · · · · · · ·)(
·6· ·VS.· · · · · · · · · · · · · ·)(· ·CASE NO.
· · · · · · · · · · · · · · · · · ·)(· ·5:21-cv-844-XR
·7· · · · · · · · · · · · · · · · ·)(· ·(LEAD CASE)
· · ·GREGORY W. ABBOTT, et al.· · ·)(
·8· · · · · · Defendants· · · · · ·)(
· · · _______________________________________________________
·9
· · · OCA-GREATER HOUSTON, et al.· ·)(
10· · · · · · Plaintiffs· · · · · · )(
· · · · · · · · · · · · · · · · · · )(· CASE NO.
11· · VS.· · · · · · · · · · · · · ·)(· 1:21-cv-780-XR
· · · · · · · · · · · · · · · · · · )(
12· · JANE NELSON, et al.· · · · · ·)(
· · · · · · · Defendants· · · · · · )(
13· · _______________________________________________________

14· · HOUSTON AREA URBAN LEAGUE,· · )(
· · · et al.· · · · · · · · · · · · )(
15· · · · · · Plaintiffs· · · · · · )(
· · · · · · · · · · · · · · · · · · )(· CASE NO.
16· · VS.· · · · · · · · · · · · · ·)(· 5:21-cv-848-XR
· · · · · · · · · · · · · · · · · · )(
17· · GREGORY WAYNE ABBOTT, et al.· )(
· · · · · · · Defendants· · · · · · )(
18· · _______________________________________________________

19· · LULAC TEXAS, et al.· · · · · ·)(
· · · · · · · Plaintiffs· · · · · · )(
20· · · · · · · · · · · · · · · · · )(
· · · · · · · · · · · · · · · · · · )(· CASE NO.
21· · VS.· · · · · · · · · · · · · ·)(· 1:21-cv-0786-XR
· · · · · · · · · · · · · · · · · · )(
22· · JANE NELSON, et al.· · · · · ·)(
· · · · · · · Defendants· · · · · · )(
23· · _______________________________________________________

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·1· ·_______________________________________________________   ·1· · · COUNSEL FOR PLAINTIFF UNITED STATES OF AMERICA:
·2· ·MIFAMILIA VOTA, et al.· · · · )(                          ·2· · · · · ·DANIEL J. FREEMAN, via Zoom
· · · · · · ·Plaintiffs· · · · · · )(                          · · · · · · ·U.S. DEPARTMENT OF JUSTICE
·3· · · · · · · · · · · · · · · · ·)(· CASE NO.                ·3· · · · · ·950 Pennsylvania Avenue NW, 4CON 8.143
· · ·VS.· · · · · · · · · · · · · ·)(· 5:21-cv-0920-XR         · · · · · · ·Washington, DC· 20530
·4· · · · · · · · · · · · · · · · ·)(                          ·4
· · ·GREG ABBOTT, et al.· · · · · ·)(                          · · · · COUNSEL FOR PLAINTIFFS LA UNION DEL PUEBLO ENTERO,
·5· · · · · ·Defendants· · · · · · )(                          ·5· · · et al.:
                                                               ·6· · · · · ·PATRICK BERRY, via Zoom
· · ·_______________________________________________________
                                                               · · · · · · ·BRENNAN CENTER FOR JUSTICE
·6
                                                               ·7· · · · · ·120 Broadway, Suite 1750
· · ·UNITED STATES OF AMERICA· · · )(
                                                               · · · · · · ·New York, New York· 10271
·7· · · · · ·Plaintiff· · · · · · ·)(                          ·8
· · · · · · · · · · · · · · · · · ·)(· CASE NO.                · · · · ALSO PRESENT:
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16· ·produced as a witness at the instance of the State
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17· ·Defendants, taken in the above-styled and numbered
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18· ·cause on APRIL 18, 2023, between the hours of 9:44 a.m.
                                                               18
19· ·and 11:04 a.m., reported stenographically by DONNA        19
20· ·McCOWN, Certified Court Reporter No. 6625, in and for     20
21· ·the State of Texas, at 7030 Mile 2 3/4 East, Mercedes,    21
22· ·Texas, pursuant to the Federal Rules of Civil Procedure   22
23· ·and any provisions stated on the record or attached       23
24· ·therein.                                                  24
25                                                             25

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· · · · · LUCIA ROMANO, via Zoom                               15
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· · · · · 1500 McGowen, Suite 100
18· · · · Houston, Texas· 77004                                17
19· · · · CHRISTOPHER McGREAL, via Zoom                        18
· · · · · DISABILITY RIGHTS TEXAS
20· · · · 1420 West Mockingbird Lane, Suite 450                19
· · · · · Dallas, Texas· 75247                                 20
21
· · ·COUNSEL FOR PLAINTIFFS HOUSTON AREA URBAN LEAGUE,         21
22· ·et al.:                                                   22
23· · · · DESTINY LOPEZ, via Zoom
                                                               23
· · · · · REED SMITH, LLP
24· · · · 355 South Grand Avenue No. 2900                      24
· · · · · Los Angeles, California, 90071                       25
25




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Anne Scott                                                                                                 April 18, 2023
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                                                   Page 14                                                              Page 16
·1· · · ·A.· Yes, sir.                                         ·1· · · ·Q.· Approximately when did you do that?
·2· · · ·Q.· And did she also vote in person?                  ·2· · · ·A.· There again, I really don't remember the date.
·3· · · ·A.· Yes, sir.                                         ·3· ·I'm sorry.· I just --
·4· · · ·Q.· In connection with the 2022 general election,     ·4· · · ·Q.· Okay.· And sometime after you submitted your
·5· ·did you submit an application for a mail-in ballot?       ·5· ·mail-in ballot in connection with the 2022 general
·6· · · ·A.· Yes, sir.                                         ·6· ·election, did you receive some type of communication or
·7· · · ·Q.· And did your daughter Taylor also submit an       ·7· ·return of that ballot prior to the general election?
·8· ·application for a mail-in ballot?                         ·8· · · ·A.· I -- I received the ballot back before the
·9· · · ·A.· I submitted one for her.                          ·9· ·election, yes.
10· · · ·Q.· And did you provide on your application for a     10· · · ·Q.· Okay.· When you received your mail-in ballot
11· ·mail-in ballot an identification number of some kind?     11· ·back, do you know if you received it from the Hidalgo
12· · · ·A.· Yes, sir.                                         12· ·County Election Office or from the U.S. Postal Service
13· · · ·Q.· What type of identification number did you        13· ·or from whom?
14· ·submit with your application for a ballot by mail in      14· · · ·A.· It was the election office, because it was
15· ·the 2022 general election?                                15· ·stamped.
16· · · ·A.· I believe I submitted my passport number.         16· · · ·Q.· And what did the stamp say on it?
17· · · ·Q.· Did you submit only one number, or did you        17· · · ·A.· It just said "return" -- I don't even remember
18· ·submit multiple numbers?                                  18· ·what it said, but there was a stamp on it, and it said
19· · · ·A.· I think it was just the one number on the         19· ·return for more information or something.· I don't
20· ·passport.                                                 20· ·really recall, but it was stamped by the Hidalgo County
21· · · ·Q.· Was that a United States passport that was        21· ·Election Office.
22· ·still active --                                           22· · · ·Q.· I take it from that answer that you don't
23· · · ·A.· Yes.                                              23· ·recall what specific information the Hidalgo County
24· · · ·Q.· -- not expired?                                   24· ·Election Office indicated you needed to provide in
25· · · ·A.· Yes, sir.                                         25· ·order to -- or to have a mail-in ballot that they would

                                                   Page 15                                                            Page 17
·1· · · ·Q.· And approximately when did you submit that        ·1· ·accept?
·2· ·application for a mail-in ballot in connection with the   ·2· · · ·A.· That is correct.
·3· ·2022 general election?                                    ·3· · · ·Q.· Did you attempt to get any help from anyone to
·4· · · ·A.· I'm sorry.· I really don't remember.· It was      ·4· ·try to determine what you needed to do to provide
·5· ·during early -- it was before early voting, I believe.    ·5· ·information requested by the Hidalgo County Election
·6· ·And I'm sorry.· I don't really remember the date.         ·6· ·Office so your mail-in ballot would be accepted?
·7· · · ·Q.· After you submitted that application for a        ·7· · · ·A.· No, I did not contact anyone.
·8· ·mail-in ballot, did you receive a mail-in ballot?         ·8· · · ·Q.· Why did you not contact anyone to get some
·9· · · ·A.· I did, yes.                                       ·9· ·assistance in that matter?
10· · · ·Q.· Approximately, when did you receive that          10· · · ·A.· Well, I was going to have to transport Taylor
11· ·mail-in ballot for the 2022 general election?             11· ·over to -- because she did not get a ballot, so I
12· · · ·A.· I'm sorry.· I don't remember.                     12· ·figured, well, if I have to transport Taylor over
13· · · ·Q.· I believe you said that you filled in your        13· ·there, I might as well take my ballot in hand and do it
14· ·mail-in ballot once you had received it; is that          14· ·there in Mercedes at the polls.
15· ·correct?                                                  15· · · ·Q.· At any time prior to completing the mail-in
16· · · ·A.· That is correct.                                  16· ·ballot for the 2022 general election, did you do
17· · · ·Q.· And did you submit an identification number or    17· ·anything to get information about what types of
18· ·numbers of some kind on that mail-in ballot?              18· ·identification numbers were required or acceptable?
19· · · ·A.· Yes, sir.                                         19· · · ·A.· No.· I figured a U.S. passport would be fine.
20· · · ·Q.· What identification number or numbers did you     20· ·I didn't use my driver's license because my name is
21· ·submit?                                                   21· ·misspelled, and so it's not my correct name.· So
22· · · ·A.· My United States passport number.                 22· ·that -- I use that as a form of identification wherever
23· · · ·Q.· And did you mail in that mail-in ballot to the    23· ·I go, and it seems to work.
24· ·proper address in Hidalgo County?                         24· · · ·Q.· In 2022, did you have a valid Texas driver's
25· · · ·A.· Yes, sir.                                         25· ·license?




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Anne Scott                                                                                                        April 18, 2023
                                                                                                                  Pages 18 to 21
                                                            Page 18                                                            Page 20
·1· · · ·A.· Yes, I do.                                               ·1· · · ·Q.· In 2022, did you or Taylor take any steps to
·2· · · ·Q.· In 2022, did you have a Social Security number?          ·2· ·attempt to renew her Texas state ID card?
·3· · · ·A.· Yes, sir.                                                ·3· · · ·A.· No, sir.
·4· · · ·Q.· Did you consider submitting the last four                ·4· · · ·Q.· What was the reason for not taking any steps
·5· ·digits of your Social Security number on the                     ·5· ·like that in 2022?
·6· ·application for mail-in ballot or on the mail-in ballot          ·6· · · ·A.· I guess just being lazy.
·7· ·as an identification number?                                     ·7· · · ·Q.· And have you or Taylor taken any steps in 2023
·8· · · ·A.· I believe I did also, but I can't remember               ·8· ·so far to attempt to renew her Texas state ID card?
·9· ·if -- if I did or not, but I -- if it -- if they asked           ·9· · · ·A.· No, we have not.
10· ·for it, I'm sure I did.                                          10· · · ·Q.· Is there any reason for that?
11· · · ·Q.· Did you look at anything either online or any            11· · · ·A.· Taylor still does not go out in the public,
12· ·materials in paper form to determine whether or not a            12· ·normally.· She does go to day care.· Everyone wears a
13· ·passport number was an acceptable form of                        13· ·mask.· Most people at day care are medically fragile.
14· ·identification for voting in Texas?                              14· ·They're tested once a week for COVID.· So it's kind of
15· · · ·A.· I assume a passport would -- a valid passport            15· ·a closed situation.
16· ·would be just about the best identification you could            16· · · · · · · · So Taylor goes to day care and comes home,
17· ·have.                                                            17· ·and that's pretty much it for her.· Like a lot of
18· · · ·Q.· My question was whether you did anything to --           18· ·medically fragile people, we have to be very careful.
19· · · ·A.· No.                                                      19· ·She is up-to-date on her COVID shots and everything,
20· · · ·Q.· -- determine that rather than just assume.               20· ·but we still worry about her because of her medical
21· · · ·A.· No.                                                      21· ·condition.
22· · · ·Q.· When -- strike that.                                     22· · · ·Q.· Does your daughter Taylor have a Social
23· · · · · · · · When did your daughter first register to            23· ·Security number?
24· ·vote?                                                            24· · · ·A.· Yes, she does.
25· · · ·A.· Before the 2020 election, but I can't remember           25· · · ·Q.· How long has she had a Social Security number,

                                                        Page 19                                                                 Page 21
·1· ·the exact date.                                                  ·1· ·roughly?
·2· · · ·Q.· In 2022, did your daughter have a Texas                  ·2· · · ·A.· Probably since she was born.
·3· ·driver's license?                                                ·3· · · ·Q.· By the way, I forgot to say, but I want to say
·4· · · ·A.· She had an expired Texas ID.                             ·4· ·any time you want to take a break, feel free to call a
·5· · · ·Q.· Okay.· So she did not have a driver's license,           ·5· ·break.· If you have to take care of the dog or anything
·6· ·but she had a state ID card?                                     ·6· ·else, please feel free.
·7· · · ·A.· Yes, sir.                                                ·7· · · ·A.· I'm fine.
·8· · · ·Q.· And how long had she had a Texas state ID card?          ·8· · · ·Q.· Okay.· So what caused Taylor to have an
·9· · · ·A.· I'm going to say since she was 20 years old.             ·9· ·interest for the first time in voting in 2022, if
10· ·It went through two cycles of renewal, because I did it          10· ·that's the first time she expressed that interest?
11· ·online once, so...                                               11· · · · · · · · MS. SNEAD:· Objection, form.
12· · · ·Q.· And when did the state ID card expire in the             12· · · · · · · · THE WITNESS:· I can still answer the
13· ·year or two prior to the general election in 2022?               13· ·question?
14· · · ·A.· It expired Taylor's birthday 10-25-2020.                 14· · · · · · · · MS. SNEAD:· Yes.
15· · · ·Q.· Did you or Taylor take any steps to try to               15· · · ·A.· I think -- I think just -- just listening to
16· ·renew her state ID card in 2019, 2020, or 2021?                  16· ·the news, and she just decided, "Hey, it's my right. I
17· · · ·A.· No.                                                      17· ·would like to vote, Mom," you know.· There was a lot of
18· · · ·Q.· Is there a reason why neither of you took any            18· ·people trying to get out to vote.
19· ·steps to renew her Texas state ID card during those              19· · · ·Q.· I may have made an error in my question.· Did
20· ·years?                                                           20· ·she first vote in 2020?
21· · · ·A.· Taylor is medically fragile, and this was                21· · · ·A.· Yes.
22· ·during COVID, and Taylor didn't even leave the house             22· · · ·Q.· Okay.
23· ·for quite -- quite a while.· So I already had renewed            23· · · ·A.· That is correct.
24· ·it over -- online previously, so I couldn't do it                24· · · ·Q.· I asked you about 2022 --
25· ·again.· So that's the story on that.                             25· · · ·A.· Oh, okay.· Okay.




                                                                                                                                          YVer1f
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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                    STATE DEFENDANTS’ BRIEF IN RESPONSE TO
               THE UNITED STATES’ MOTION FOR SUMMARY JUDGMENT



                                APPENDIX Y
          Case 5:21-cv-00844-XR Document 1129-1 Filed 04/29/24 Page 34 of 44
     Taylor Scott                                                         April 18, 2023
                                                                                       ·


·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3

·4· ·LA UNION DEL PUEBLO ENTERO,· ·)(
· · ·et al.· · · · · · · · · · · · )(
·5· · · · · · Plaintiffs· · · · · ·)(
· · · · · · · · · · · · · · · · · ·)(
·6· ·VS.· · · · · · · · · · · · · ·)(· ·CASE NO.
· · · · · · · · · · · · · · · · · ·)(· ·5:21-cv-844-XR
·7· · · · · · · · · · · · · · · · ·)(· ·(LEAD CASE)
· · ·GREGORY W. ABBOTT, et al.· · ·)(
·8· · · · · · Defendants· · · · · ·)(
· · · _______________________________________________________
·9
· · · OCA-GREATER HOUSTON, et al.· ·)(
10· · · · · · Plaintiffs· · · · · · )(
· · · · · · · · · · · · · · · · · · )(· CASE NO.
11· · VS.· · · · · · · · · · · · · ·)(· 1:21-cv-780-XR
· · · · · · · · · · · · · · · · · · )(
12· · JANE NELSON, et al.· · · · · ·)(
· · · · · · · Defendants· · · · · · )(
13· · _______________________________________________________

14· · HOUSTON AREA URBAN LEAGUE,· · )(
· · · et al.· · · · · · · · · · · · )(
15· · · · · · Plaintiffs· · · · · · )(
· · · · · · · · · · · · · · · · · · )(· CASE NO.
16· · VS.· · · · · · · · · · · · · ·)(· 5:21-cv-848-XR
· · · · · · · · · · · · · · · · · · )(
17· · GREGORY WAYNE ABBOTT, et al.· )(
· · · · · · · Defendants· · · · · · )(
18· · _______________________________________________________

19· · LULAC TEXAS, et al.· · · · · ·)(
· · · · · · · Plaintiffs· · · · · · )(
20· · · · · · · · · · · · · · · · · )(
· · · · · · · · · · · · · · · · · · )(· CASE NO.
21· · VS.· · · · · · · · · · · · · ·)(· 1:21-cv-0786-XR
· · · · · · · · · · · · · · · · · · )(
22· · JANE NELSON, et al.· · · · · ·)(
· · · · · · · Defendants· · · · · · )(
23· · _______________________________________________________

24

25
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Taylor Scott                                                                                              April 18, 2023
                                                                                                            Pages 2 to 5
                                                     Page 2                                                           Page 4
·1· ·_______________________________________________________   ·1· · · COUNSEL FOR PLAINTIFF UNITED STATES OF AMERICA:
·2· ·MIFAMILIA VOTA, et al.· · · · )(                          ·2· · · · · ·DANIEL J. FREEMAN, via Zoom
· · · · · · ·Plaintiffs· · · · · · )(                          · · · · · · ·U.S. DEPARTMENT OF JUSTICE
                                                               ·3· · · · · ·950 Pennsylvania Avenue NW, 4CON 8.143
·3· · · · · · · · · · · · · · · · ·)(· CASE NO.
                                                               · · · · · · ·Washington, DC· 20530
· · ·VS.· · · · · · · · · · · · · ·)(· 5:21-cv-0920-XR         ·4
·4· · · · · · · · · · · · · · · · ·)(                          · · · · COUNSEL FOR PLAINTIFFS LA UNION DEL PUEBLO ENTERO,
· · ·GREG ABBOTT, et al.· · · · · ·)(                          ·5· · · et al.:
·5· · · · · ·Defendants· · · · · · )(                          ·6· · · · · ·PATRICK BERRY, via Zoom
· · ·_______________________________________________________   · · · · · · ·BRENNAN CENTER FOR JUSTICE
                                                               ·7· · · · · ·120 Broadway, Suite 1750
·6
                                                               · · · · · · ·New York, New York· 10271
· · ·UNITED STATES OF AMERICA· · · )(                          ·8
·7· · · · · ·Plaintiff· · · · · · ·)(                          · · · · ALSO PRESENT:
· · · · · · · · · · · · · · · · · ·)(· CASE NO.                ·9· · · · · ·Rene Ortiz, Videographer
·8· ·VS.· · · · · · · · · · · · · ·)(· 5a;21-cv-1085-XR        · · · · · · ·Anne Scott
· · · · · · · · · · · · · · · · · ·)(                          10· · · · · · · · · · · · · · INDEX
                                                               11· · · · · · · · · · · · · · · · · · · · · · · · · · ·PAGE
·9· ·THE STATE OF TEXAS, et al.· · )(                          · · ·Appearances .....................................· ·2
· · · · · · ·Defendants· · · · · · )(                          12
10· ·_______________________________________________________   · · ·TAYLOR SCOTT
11                                                             13· ·Examination by Mr. Bryant .......................· ·5
· · · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF              · · ·Examination by Ms. Snead ........................· 18
12· · · · · · · · · · · · TAYLOR SCOTT                         14
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13· ·_______________________________________________________   · · ·Reporter's Certificate ..........................· 23
14                                                             16
15· · · · · ·ORAL AND VIDEOTAPED DEPOSITION OF TAYLOR SCOTT,   · · ·Attached to the end of the transcript:· Stipulations
16· ·produced as a witness at the instance of the State        17
17· ·Defendants, taken in the above-styled and numbered        · · · · · · · · · · · · · · EXHIBITS
                                                               18
18· ·cause on APRIL 18, 2023, between the hours of             · · ·NUMBER· DESCRIPTION· · · · · · · · · · · · · · · ·PAGE
19· ·11:33 a.m. and 11:57 a.m., reported stenographically by   19
20· ·DONNA McCOWN, Certified Court Reporter No. 6625, in and   · · · · (No Exhibits Marked)
21· ·for the State of Texas, at 7030 Mile 2 3/4 East,          20
22· ·Mercedes, Texas, pursuant to the Federal Rules of Civil   21
23· ·Procedure and any provisions stated on the record or      22
                                                               23
24· ·attached therein.                                         24
25                                                             25

                                                     Page 3                                                             Page 5
·1· · · · · · · · · · · APPEARANCES                            ·1· · · · · · · · THE VIDEOGRAPHER:· Today is April 18,
·2· ·COUNSEL FOR STATE DEFENDANTS:
·3· · · · DAVID BRYANT                                         ·2· ·2023.· It is 11:33 a.m.· We're on the record.
· · · · · OFFICE OF THE TEXAS ATTORNEY GENERAL
·4· · · · P.O. Box 12548                                       ·3· · · · · · · · · · · · TAYLOR SCOTT,
· · · · · Austin, Texas, 78711-2548                            ·4· ·having been duly sworn, testified as follows:
·5
· · ·COUNSEL FOR DEFENDANT HIDALGO COUNTY ELECTIONS            ·5· · · · · · · · · · · · ·EXAMINATION
·6· ·ADMINISTRATOR:
·7· · · · LEIGH ANN TOGNETTI                                   ·6· ·BY MR. BRYANT:
· · · · · HIDALGO COUNTY DISTRICT ATTORNEY'S OFFICE            ·7· · · ·Q.· Ms. Scott, my name is David Bryant.· I am with
·8· · · · 100 East Cano Street
· · · · · Edinburg, Texas· 78539                               ·8· ·the Texas Attorney General's Office, and appreciate you
·9
· · ·COUNSEL FOR INTERVENOR DEFENDANTS:                        ·9· ·being here for the deposition today.
10                                                             10· · · · · · · · I want to allow the other attorneys to
· · · · · STEPHEN KENNY, via Zoom
11· · · · JONES DAY                                            11· ·state their appearances so everyone will know who's
· · · · · 51 Louisiana Avenue, NW
12· · · · Washington, DC· 20001                                12· ·participating in the deposition.
13· ·COUNSEL FOR PLAINTIFFS OCA-GREATER HOUSTON, et al.:       13· · · · · · · · MS. SNEAD:· This is Lisa Snead from
14· · · · LISA SNEAD
· · · · · DISABILITY RIGHTS TEXAS                              14· ·Disability Rights Texas representing the OCA Plaintiffs
15· · · · 222 West Braker Lane
· · · · · Austin, Texas, 78758-1024                            15· ·and defending Ms. Scott's deposition.
16                                                             16· · · · · · · · MS. TOGNETTI:· Leigh Ann Tognetti from the
· · · · · LUCIA ROMANO, via Zoom
17· · · · DISABILITY RIGHTS TEXAS                              17· ·Hidalgo County District Attorney's Office representing
· · · · · 1500 McGowen, Suite 100
18· · · · Houston, Texas· 77004                                18· ·the Hidalgo County Elections Administrator.
19· · · · CHRISTOPHER McGREAL, via Zoom                        19· · · · · · · · MR. BRYANT:· Are there other participants
· · · · · DISABILITY RIGHTS TEXAS
20· · · · 1420 West Mockingbird Lane, Suite 450                20· ·on Zoom who want to state an appearance?
· · · · · Dallas, Texas· 75247
21                                                             21· · · · · · · · Let the record reflect that there are
· · ·COUNSEL FOR PLAINTIFFS HOUSTON AREA URBAN LEAGUE,         22· ·none.· And we'll begin the deposition at this time.
22· ·et al.:
23· · · · DESTINY LOPEZ, via Zoom                              23· · · ·Q.· (By Mr. Bryant) Ms. Scott, I'm going to be
· · · · · REED SMITH, LLP
24· · · · 355 South Grand Avenue No. 2900                      24· ·asking you a series of questions.· You're under oath
· · · · · Los Angeles, California, 90071                       25· ·just as you would be if you were testifying in court or
25




                                                                                                                                 YVer1f
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Taylor Scott                                                                                                      April 18, 2023
                                                                                                                    Pages 6 to 9
                                                            Page 6                                                               Page 8
·1· ·in front of a judge.                                            ·1· · · ·A.· Yes.· I had to go over to the driver's license
·2· · · · · · · · And so you -- you have an obligation to be         ·2· ·place.
·3· ·as truthful as you can.· Do you understand that                 ·3· · · ·Q.· About how old were you when you did that?
·4· ·obligation?                                                     ·4· · · ·A.· I can't remember.
·5· · · ·A.· Yes.                                                    ·5· · · ·Q.· And do you still have a Texas state ID card?
·6· · · ·Q.· Have you ever testified in a deposition or              ·6· · · ·A.· Yes.
·7· ·otherwise --                                                    ·7· · · ·Q.· Is it now expired?
·8· · · ·A.· No.                                                     ·8· · · ·A.· Yes, sir.
·9· · · ·Q.· -- before today?                                        ·9· · · ·Q.· Approximately, when did your Texas state ID
10· · · ·A.· No, sir.                                                10· ·card expire?
11· · · ·Q.· Okay.· One of the things that we have to                11· · · ·A.· I can't remember, sir.
12· ·remember in these depositions is that all that really           12· · · ·Q.· Have you ever voted in an election?
13· ·matters is what the court reporter writes down, so if           13· · · ·A.· Yes.
14· ·you and I were just having a conversation, a lot of             14· · · ·Q.· How many times have you voted in an election?
15· ·times you would know what I'm asking before I finish my         15· · · ·A.· Once by mail.
16· ·question and you might answer it, but if you can wait           16· · · ·Q.· And do you know what year it was when you voted
17· ·until my question is finished before you answer it --           17· ·by mail in an election?
18· · · ·A.· Okay.                                                   18· · · ·A.· No, sir.
19· · · ·Q.· -- that will help, and also, I will try not to          19· · · ·Q.· What do you recall about the instance in which
20· ·interrupt you when you are giving an answer --                  20· ·you voted by mail in an election?
21· · · ·A.· Okay.                                                   21· · · ·A.· We got our ballots.· We signed them and sent
22· · · ·Q.· -- so your answer will get fully on the page.           22· ·them back.
23· · · ·A.· Okay.                                                   23· · · ·Q.· And do you know what year that was?
24· · · ·Q.· Any time that you need to take a break --               24· · · ·A.· I don't remember.
25· · · ·A.· Okay.                                                   25· · · ·Q.· Have you ever voted in person in a Texas

                                                        Page 7                                                                 Page 9
·1· · · ·Q.· -- please feel free to just say, "I need a              ·1· ·election?
·2· ·break."                                                         ·2· · · ·A.· Yes.
·3· · · ·A.· Yeah.                                                   ·3· · · ·Q.· How many times have you voted in person?
·4· · · ·Q.· And you'll get one.                                     ·4· · · ·A.· Once.
·5· · · ·A.· Okay.                                                   ·5· · · ·Q.· What year was it when you voted in person in an
·6· · · ·Q.· And also, if you have any difficulty                    ·6· ·election?
·7· ·understanding anything that is going on, I want you to          ·7· · · ·A.· It was this year.
·8· ·feel free to --                                                 ·8· · · ·Q.· Okay.· This year is 2023.· Was it the last
·9· · · ·A.· Okay.                                                   ·9· ·election in November '22?
10· · · ·Q.· -- consult your attorney, and your mother is            10· · · ·A.· Yes.· No.· It was 2023.
11· ·present here, and I'm fine with that on behalf of               11· · · ·Q.· Okay.· What do you recall about voting in the
12· ·the --                                                          12· ·election in person?
13· · · ·A.· Okay.                                                   13· · · ·A.· I had to go to a building and vote.· I took my
14· · · ·Q.· -- Attorney General and the State Defendants in         14· ·passport to vote.· I didn't have my ID.
15· ·this case.                                                      15· · · ·Q.· Where did you vote?
16· · · ·A.· Okay.                                                   16· · · ·A.· In a building in Mercedes.
17· · · ·Q.· Okay.· What was your date of birth?                     17· · · ·Q.· Was that a building you had been to before, or
18· · · ·A.· 10-30-87.                                               18· ·was it the first time you had been there?
19· · · ·Q.· And are we currently in your home in Mercedes,          19· · · ·A.· It was the first time I've been there.
20· ·Texas?                                                          20· · · ·Q.· And who went with you to vote on that occasion?
21· · · ·A.· Yes, sir.                                               21· · · ·A.· My mom.
22· · · ·Q.· Have you lived here all your life?                      22· · · ·Q.· Did you have any trouble casting your ballot
23· · · ·A.· Yes, sir.                                               23· ·when you went to the polling place in Mercedes in that
24· · · ·Q.· Do you recall when you first got a Texas state          24· ·election?
25· ·ID?                                                             25· · · ·A.· No.· It was all done electronically.




                                                                                                                                          YVer1f
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Taylor Scott                                                                                               April 18, 2023
                                                                                                           Pages 10 to 13
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·1· · · ·Q.· Do you recall any occasion in which you           ·1· · · ·A.· Not very well.
·2· ·attempted to vote by mail but couldn't do so?             ·2· · · ·Q.· Is it -- do you think that you read?
·3· · · ·A.· Yes.                                              ·3· · · ·A.· Excuse me?
·4· · · ·Q.· When did that occur?                              ·4· · · ·Q.· Do you read fairly well?
·5· · · ·A.· In this year's election.                          ·5· · · ·A.· Barely.· I can read some words, but not many.
·6· · · ·Q.· Was that in 2022 or 2023?                         ·6· · · ·Q.· Did you -- strike that.
·7· · · ·A.· 2023.                                             ·7· · · · · · · · Do you go online and read things?
·8· · · ·Q.· And what do you recall about the attempt that     ·8· · · ·A.· No.
·9· ·you made to vote by mail on that election?                ·9· · · ·Q.· Did you read any of the -- any material related
10· · · ·A.· I didn't get a ballot.                            10· ·to the voting process when you applied to vote by mail?
11· · · ·Q.· Do you recall whether or not you sent in an       11· · · ·A.· No.
12· ·application for a mail-in ballot on that occasion?        12· · · ·Q.· Are you a registered voter in Texas?
13· · · ·A.· Yes.                                              13· · · ·A.· Yes, sir.
14· · · ·Q.· Did you fill out that application yourself?       14· · · ·Q.· How long have you been a registered voter in
15· · · ·A.· My mom did.                                       15· ·Texas?
16· · · ·Q.· Okay.· Did you sign that application?             16· · · ·A.· I just started last year.
17· · · ·A.· She -- she writes for me.· I can't -- I can't     17· · · ·Q.· Which year was that?
18· ·write.                                                    18· · · ·A.· Last year.
19· · · ·Q.· And did you read that application before it was   19· · · ·Q.· Was that 2022 or 2023?
20· ·sent in?                                                  20· · · ·A.· 2023.
21· · · ·A.· She read it to me.                                21· · · ·Q.· Did your mother assist you in getting
22· · · ·Q.· And do you recall that the application required   22· ·registered as a voter?
23· ·you to provide some type of identification number?        23· · · ·A.· Yes.
24· · · ·A.· Yes, sir.                                         24· · · ·Q.· Have you ever sought any assistance from anyone
25· · · ·Q.· And what type of identification number or         25· ·other than your mother in connection with the voting or

                                                   Page 11                                                            Page 13
·1· ·numbers, if any, did -- did your mother provide on your   ·1· ·registering to vote?
·2· ·application for a mail-in ballot?                         ·2· · · ·A.· No.
·3· · · ·A.· My passport number.                               ·3· · · ·Q.· Is it fair to say that you've never had any
·4· · · ·Q.· Did she provide any other numbers?                ·4· ·contact with anybody at the State of Texas about
·5· · · ·A.· No.                                               ·5· ·voting?
·6· · · ·Q.· At the time that that attempt was made to get a   ·6· · · ·A.· No, sir.
·7· ·mail-in ballot, did you have a Social Security number?    ·7· · · ·Q.· Is it correct that you have not had any
·8· · · ·A.· Yes.                                              ·8· ·contact, other than when you went in person, with
·9· · · ·Q.· Did you know at that time that you could          ·9· ·anybody at Hidalgo County about voting?
10· ·provide the last four digits of your Social Security      10· · · ·A.· No, sir.
11· ·number on that application?                               11· · · · · · · · MS. SNEAD:· I'm going to object to the
12· · · ·A.· Yes, sir.                                         12· ·form, because I'm not sure she understands the
13· · · ·Q.· Is there a reason why you or your mom did not     13· ·question.
14· ·provide the last four digits of your Social Security      14· · · · · · · · MR. BRYANT:· Okay.
15· ·number on that application?                               15· · · · · · · · MS. SNEAD:· If you can phrase it more
16· · · ·A.· I don't know.                                     16· ·directly.
17· · · ·Q.· Did you provide the number on your state ID       17· · · · · · · · MR. BRYANT:· I'll try to do that.
18· ·card, even though it was expired?                         18· · · ·Q.· Have you ever talked in person or on the phone
19· · · ·A.· No, sir.                                          19· ·with anyone from the State of Texas about voting?
20· · · ·Q.· Why did you not do that?                          20· · · ·A.· My hand -- I cannot use the phone.· My hand --
21· · · ·A.· Because it was expired.· I used my passport.      21· ·my hands do not work, so...
22· · · ·Q.· When I spoke with your mother earlier, she told   22· · · ·Q.· So I assume from that that you've never talked
23· ·me that you had gone to high school; is that right?       23· ·with anybody on the phone --
24· · · ·A.· Yes.                                              24· · · ·A.· No, no.
25· · · ·Q.· So do you read well?                              25· · · ·Q.· Have you ever talked with anybody from the




                                                                                                                                  YVer1f
     Case 5:21-cv-00844-XR Document 1129-1 Filed 04/29/24 Page 38 of 44



                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.,     §
      Plaintiffs,                       §
                                        §
v.                                      §   Case No. 5:21-cv-844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
     Defendants.                        §




                    STATE DEFENDANTS’ BRIEF IN RESPONSE TO
               THE UNITED STATES’ MOTION FOR SUMMARY JUDGMENT



                                APPENDIX Z
Case 5:21-cv-00844-XR Document 1129-1 Filed 04/29/24 Page 39 of 44




                           In The Matter Of

                  La Union Del Pueblo Entero, et al.,

                                 Plaintiffs

                                     v

                         State Of Texas, et al.,

                               Defendants


                                  CASE

                               5:21-cv-844

                                   Date

                                4-27-2022

                                Witness


                       Jonathan Sherman White



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5:21-cv-844 (XR)                                               Entero v Texas                                       Jonathan Sherman White 1 (1 - 4)


4/27/2022                                                                                                                                1 (1 - 4)
                                                       NATIONAL COURT REPORTERS INC 888.800.9656


                                                                     Page 1                                                                   Page 3
 1          IN THE UNITED STATES DISTRICT COURT                                1         A P P E A R A N C E S (CONTINUED)
             FOR THE WESTERN DISTRICT OF TEXAS
 2               SAN ANTONIO DIVISION                                          2       KATIE M. FRIEL (via videoconference)
                                                                                       Fellow, Voting Rights & Elections
 3 LA UNION DEL PUEBLO         §                                               3       Brennan Center for Justice at NYU School of Law
     ENTERO, ET AL.,       §                                                           120 Broadway, Suite 1750
 4        Plaintiffs, § Civil Action No.                                       4       New York, NY 10271
                    § 5:21-cv-844 (XR)                                                 (646) 292-8310 Fax: (212) 463-7308
 5 VS.                § (Consolidated Cases)                                   5       freilk@brennan.law.nyu.edu
                    §
 6 STATE OF TEXAS, ET AL.     §                                                6 COUNSEL FOR THE LUPE PLAINTIFFS:
        Defendants.      §                                                             ELIZA SWEREN-BECKER (via videoconference)
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                                                                                       Brennan Center for Justice at NYU School of Law
 8                  ORAL DEPOSITION OF                                         8       120 Broadway, Suite 1750
                                                                                       New York, NY 10271-202
 9               JONATHAN SHERMAN WHITE                                        9       (646) 925-8765 Fax: (917) 597-9040
                                                                                       Eliza.sweren-becker@nyu.edu
10                   APRIL 27, 2022                                           10
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11                                                                            11     LAURA E. ROSENBAUM (via videoconference
                                                                                     STOEL RIVES, LLP
12 ******************************************************                     12     760 SW Ninth Avenue, Suite 3000
                                                                                     Portland, OR 97205
13            ORAL DEPOSITION OF JONATHAN SHERMAN WHITE,                      13     (503) 294-9642
                                                                                     Laura.rosenbaum@stoel.com
14 produced as a witness at the instance of the Plaintiffs                    14
                                                                                   COUNSEL FOR DEFENDANT TRAVIS COUNTY CLERK REBECCA
15 and Plaintiff-Intervenors, and duly sworn, was taken in                    15 GUERRERO AND DISTRICT ATTORNEY JOSÉ P. GARZA:
                                                                                       ANTHONY "TONY" NELSON (via videoconference)
16 the above-styled and numbered cause on the 27th day of                     16       Civil Litigation Division of the Travis County
                                                                                       Attorney's Office
17 April 2022, from 9:11 a.m. to 5:31 p.m., before Caroline                   17       P.O. Box 1748
                                                                                       Austin, TX 78767-1748
18 Chapman, CSR in and for the State of Texas, reported by                    18       (512) 854-9513 Fax: (512) 854-4808
                                                                                       tony.nelson@traviscountytx.gov
19 Computerized Stenotype Machine, Computer-Assisted                          19
                                                                                   COUNSEL FOR YVONNE RAMÓN ELECTIONS ADMINISTRATORS OF
20 Transcription, held at the William P. Clements Jr. State                   20 HIDALGO COUNTY:
                                                                                       LEIGH ANN LEAVELL TOGNETTI (videoconference)
21 Office Building, 300 West 15th Street, Hearing Room                        21       Hidalgo County District Attorney's Office
                                                                                       100 East Cano, Courthouse Annex III, 1st Floor
22 1001E, Austin, Texas, pursuant to the Federal Rules of                     22       Edinburg, TX 78539
                                                                                       (956) 292-7609 EXT 8182
23 Civil Procedure.                                                           23       Leigh.tognetti@da.co.hidalgo.tx.us
24                                                                            24
25                                                                            25
                                                                     Page 2                                                                   Page 4
 1             APPEARANCES                                                     1          A P P E A R A N C E S (CONTINUED)
 2 COUNSEL FOR THE PLAINTIFFS AND PLAINTIFF-INTERVENORS:                       2 COUNSEL FOR THE HIDALGO COUNTY DISTRICT ATTORNEY'S
           RICHARD A. DELLHEIM                                                   OFFICE:
 3         DANA PAIKOWSKY                                                      3      VICTOR M. GARZA (via videoconference)
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 5         950 Pennsylvania Avenue NW                                          5      Hidalgo County, Texas
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 6         (202) 305-4355                                                      6      Edinburg, TX 78539
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                                                                                      victor.garza@da.co.hidalgo.tx.us
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 9         Voting Section, Civil Rights Division                               9     ZACHARY "ZACH" DOLLING (via videoconference)
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12         jennifer.yun@usdoj.gov                                             12     zachary@texascivilrightsproject.org
13 COUNSEL FOR THE DEFENDANTS THE STATE OF TEXAS, ET AL.:                     13 COUNSEL FOR REVUP:
           ERIC HUDSON                                                                  LUCIA IRENE ROMANO-OSTROM (via videoconference)
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             State of Texas                                                             Disability Rights Texas
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           P.O. Box 125248, Capitol Station                                             Houston, TX 77004-1153
16         Austin, Texas 78711-2548                                           16        (832) 681-8210
           (512) 936-2266 Fax: (512) 457-2548                                           lromano@disabilityrightstx.org
17         eric.hudson@oag.texas.org                                          17
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 1 identifying information, or an identifier such as a DL                1 identification document. They could just ask for it,
 2 or the last four of the social. That could be an                      2 and if the voter was inclined to provide it or show it
 3 obstacle to a vote harvesting crew that wishes to bypass              3 to them because they had that level of trust somehow
 4 the voter.                                                            4 with a stranger or -- or a harvester maybe that they've
 5           And then, as I already stated, it could                     5 known from previous election cycles, that's possible.
 6 also be an obstacle to gaining the voter's compliance,                6    Q.     Uh-huh.
 7 because here's a stranger asking for my DL number so                  7              Do you have any personal knowledge of the
 8 that they can complete these documents on my behalf or                8 operative underlying facts of a case that was positively
 9 submit this, you know, carrier envelope on my behalf, so              9 resolved, so the spreadsheet we've been working on,
10 it -- by putting the control of the interaction more in              10 where the defendant who engaged in voter -- in a vote
11 the voter's hands because those are -- those are numbers             11 harvesting crime filled out the voter's ballot or
12 that the voter has access to that the harvester is less              12 absentee ballot by mail request in the voter's presence?
13 likely to have access to, I think it promotes security               13    A.     Sure. Although I would say, because this --
14 in that fashion.                                                     14 this isn't the most up-to-date document. Some of the
15    Q.   So if I, moving forward, refer to the activity               15 most recent cases are the ones that are immediately
16 you described of collecting as many absentee ballots and             16 popping into my mind and they're not on this document
17 collecting and submitting ballots by mail as illegal                 17 yet, but they have been resolved.
18 vote harvesting, will you understand what I'm referring              18    Q.     They have been resolved?
19 to?                                                                  19    A.     And there may be ones on here as well that I
20    A.   Sure. And if for some reason that definition                 20 would have to take a look at, but most of these cases
21 needs clarifying, then I'll bring it up at that time.                21 focus on the -- on the -- kind of the harvesting side of
22    Q.   You mentioned that SB1's mail ballot                         22 the process rather than the seeding or the application
23 identification requirements would be more effective in               23 side of the process, from what I looked through.
24 preventing some vote harvesting more so than others.                 24 Actually, you know, I was flagging the ones that were --
25 Are there instances you can think of where SB1's mail                25 that were unlawful assistance interactions, and so we
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 1 ballot identification requirements would not be                       1 probably do have some application fraud situations here.
 2 effective in deterring vote harvesting?                               2 But a majority -- I would say a majority of the
 3    A.   The primary scenario I can think of is where a                3 application violation cases do involve completing an
 4 vote harvesting crew already has enough information                   4 application in the presence of the voter.
 5 about the voters that they possess those identifying                  5    Q.     The majority involve completing an application
 6 numbers that have to be provided.                                     6 in the presence of the voter?
 7    Q.   Do you believe that SB1's mail ballot                         7    A.   Most of it happens in the presence of the
 8 identification requirements would be effective in                     8 voter. And I think the reason for that is because
 9 preventing vote harvesting if a defendant filled out                  9 eventually they have to go back to the voter for the
10 either the voter's application or mail ballot in the                 10 ballot, and so it's helpful to have that prior
11 presence of that voter?                                              11 interaction with the voter. It's helpful to get -- it's
12            MR. HUDSON: Objection, form, foundation.                  12 easy to get an actual signature from the voter for an
13 Objection, incomplete hypothetical.                                  13 application, because I'm just helping you get a mail
14    A.   If I understand the question, I think that                   14 ballot.
15 the -- the piece that I mentioned earlier, where the                 15    Q.     Right.
16 voter could be put off by a harvester requesting that                16    A.   Now, when you go to the mail ballot, that's
17 information from the voter, that could reduce the                    17 where the skill comes in.
18 likelihood of a successful vote harvesting transaction.              18    Q.     So in most of these vote harvesting schemes,
19 I think that would be my answer.                                     19 the harvesters are trying to build some relationship
20    Q.   And can you think of situations where a                      20 with the people they're targeting?
21 perpetrator might be able to obtain an ID from the                   21    A.   I would say they're trying to -- trying to
22 person they're seeking to harvest a ballot from?                     22 establish some level of trust or confidence with that --
23            MR. HUDSON: Objection, incomplete                         23 with that voter. If they're doing it well, they are.
24 hypothetical. Objection, foundation.                                 24    Q.     And in those instances, is it possible that
25    A.   An ID number or an actual -- actual                          25 they could ask the voter for their identification number

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 1 or have the voter fill out their own identification                  1    A.   This specific version, I'm not 100 percent
 2 number?                                                              2 sure, but -- I couldn't say for sure.
 3    A.   That's right. Absolutely.                                    3    Q.   What are instances where you presented some
 4            MS. PAIKOWSKY: If it's okay, can I take a                 4 version of this slide show?
 5 five-minute break?                                                   5    A.   The one I recall is -- would be the Secretary
 6    A.   Sure.                                                        6 of State's annual elections conference for elections
 7            MR. HUDSON: No objection.                                 7 administrators.
 8            (Lunch recess.)                                           8    Q.   And in that conference, who are you presenting
 9    Q.   (By Ms. Paikowsky) Mr. White, I'm going to go                9 this slide show to?
10 back to asking questions about SB1's mail ballot                    10    A.   Elections officials.
11 identification provisions. Without SB1's mail ballot                11    Q.   What is the purpose of giving this presentation
12 identification provisions, would your office have other             12 to election officials?
13 means of detecting vote harvesting?                                 13    A.   To inform them about election integrity efforts
14            MR. HUDSON: Object to the extent that                    14 and enforcement and to give them some information on
15 that would encroach on investigator privilege, and                  15 what they can look for in terms of detecting election
16 remind you of the stipulation concerning the running                16 fraud and how to report it.
17 objection. Just instruct the witness, to the extent                 17    Q.   If you wouldn't mind turning to Bates
18 that that would encroach on methods of investigation or             18 No. 054641.
19 practices, I'll instruct you not to answer.                         19    A.   Okay.
20    A.   Yeah. Without going into our mental                         20    Q.   Can you describe this slide?
21 impressions and our investigative practices, I guess I              21    A.   So this slide is intended to show some examples
22 could say we have prosecuted vote harvesting cases in               22 or representations of examples of mail ballot
23 the past.                                                           23 application activity that might be associated with --
24    Q.   And this, again, is not seeking specific                    24 with fraud or vote harvesting operations.
25 information about any investigation, but do you have --             25    Q.   Does this slide show tools that your office
                                                             Page 90                                                                Page 92
 1 does your office have methods by which you would detect              1 uses to detect vote harvesting and impersonations?
 2 potential illegal vote harvesting?                                   2    A.   The intent was to show elections administrators
 3           MR. HUDSON: Same objections.                               3 items that they might detect, and if looking -- if
 4    A.   We have --                                                   4 looked into further might find evidence of fraud that
 5           MR. HUDSON: Same instruction.                              5 they would report to our office.
 6    A.   We have other methods.                                       6    Q.   So is it fair to say that the examples you see
 7    Q.   All right. I'm going to show you a document                  7 here might give your office or others cause to
 8 that we can mark Exhibit 5.                                          8 investigate potential absentee ballot by mail fraud?
 9           (Exhibit 5 marked.)                                        9    A.   They might if we received a complaint with this
10           MS. PERALES: What are you marking? You                    10 type of information inside of it.
11 tell me. This is 5?                                                 11    Q.   Have there been instances -- again, not going
12           MS. PAIKOWSKY: This is 5.                                 12 into privileged information about any specific
13    Q.   (By Ms. Paikowsky) Do you recognize this                    13 investigation -- have there been instances in the past
14 document? Sorry, and I should say this is marked                    14 where you office has received a complaint that includes
15 State -- Bates No. State 05462.                                     15 an example that you -- similar to those that you've
16    A.   Yes, I believe I do.                                        16 provided here to detect a vote harvesting?
17    Q.   And what is this document?                                  17    A.   Yes.
18    A.   It is a PowerPoint file including some                      18    Q.   To your knowledge, will your office continue to
19 information about election integrity at the Attorney                19 rely on this tool to detect vote harvesting?
20 General's Office.                                                   20    A.   We'll continue to rely on complaints that have
21    Q.   Who created this PowerPoint?                                21 credible information about election fraud.
22    A.   I guess a collaboration involving myself and                22    Q.   And the kinds of evidence that you might
23 some other members of our team, I'm not sure exactly                23 consider credible evidence warranting an investigation
24 who.                                                                24 would be -- would include what's provided on this slide
25    Q.   What has the slide show been used for?                      25 show?

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 1 or some other polling place, and without respect to                     1 voting for other people, basically?
 2 whether the food is being offered as an inducement to                   2    A.    Sure. Well, the one that comes to mind
 3 vote, but just having a barbecue set up, chicken plates                 3 immediately is the one associated with the victim's
 4 on the lawn of the county courthouse, outside the                       4 assistance coordinator of Omar Escobar, whose vote
 5 electioneering zone does not violate Texas law, right?                  5 harvesting operation caught up a deceased voter who had
 6            MR. HUDSON: Objection, form, incomplete                      6 been -- who had passed away nine years earlier, and
 7 hypothetical. Objection, asked and answered.                            7 applied for a mail ballot for that voter, and that mail
 8 Objection, foundation. Go ahead.                                        8 ballot got voted. The issue in the case was actually
 9    A.   I -- yeah, I mean, I might miss something, but,                 9 pending that offense to the specific person, and we
10 you know, absent -- absent some facts that actually                    10 ultimately did not obtain that conviction against
11 indicate an offense under the Election Code or some                    11 Ms. Garza in that case.
12 other code, no, I mean people can gather and have food.                12    Q.    Did you charge her? Did you go to court?
13    Q.   And you mentioned that the chicken plate is a                  13    A.    We did.
14 phenomenon of South Texas. Is that what you've heard?                  14    Q.    Was she acquitted?
15    A.   That's what I've heard.                                        15    A.    No.
16    Q.   Are you aware that campaigns set up barbecues                  16    Q.    The charges were dropped?
17 and tents and lawn chairs and hand out food to people in               17    A.    The charges were dropped.
18 other parts of Texas besides South Texas?                              18    Q.    Okay. Do you have any sense of the relative
19    A.   That wouldn't surprise me to hear that. I just                 19 proportion of fraud that occurs by family members voting
20 haven't heard a lot of those stories.                                  20 for other family members versus one of these vote
21    Q.   What percent of the cases that you have                        21 harvesting operations that you've identified in your
22 prosecuted of voter assistance fraud have involved Anglo               22 chart?
23 defendants versus non Anglo defendants?                                23    A.    I have a very general sense of it based on just
24    A.   No idea.                                                       24 a cumulative 14 years of dealing with cases.
25    Q.   Have you ever seen an instance where a voter                   25    Q.    And what is your sense?
                                                               Page 214                                                                 Page 216
 1 cast a ballot for a family member who was ineligible                    1    A.    The exception to the rule.
 2 because the family member was dead?                                     2    Q.    What would be fair to say, also, though, that
 3    A.   I'm trying to think of whether I have any of                    3 you are less likely to learn of an instance in which a
 4 those cases on the resolved prosecutions spreadsheet.                   4 family member votes for another family member because
 5 But I -- I could say I have seen that scenario, but I                   5 it's isolated and there are fewer people to report it?
 6 would be limited to talking about the facts of those                    6    A.    I would say we're probably equally likely to
 7 scenarios unless they've been resolved prosecutions.                    7 learn of it if the voter is deceased, for example,
 8    Q.   Would the answer be the same if I asked you if                  8 because there are ways that gets flagged by the system.
 9 you've ever seen instances where a voter cast the ballot                9 If it's a -- we might -- anytime a voter is aware that
10 for a family member who was ineligible because the                     10 their ballot has been taken and voted against their will
11 family member was no longer a resident of the                          11 or they show up to vote in person to vote but they're
12 jurisdiction?                                                          12 told, "No, you've already voted by mail," or something
13    A.   We've had lots of residency cases, but I don't                 13 like that, it's fairly likely that that could get
14 remember one where a vote was cast for a family member.                14 reported.
15    Q.   You've never seen, for example, parents vote a                 15            So I think I agree with the premise that
16 mail ballot for a child who's in college but that child                16 it is probably more likely in a number of situations for
17 is already gone and voting on their own wherever they                  17 a vote harvesting operation to be reported than a family
18 went?                                                                  18 member. It's also not across the board, and there are
19    A.   I don't recall the fact of the family member                   19 other factors in a vote harvesting operation that make
20 voting another family member's ballot who had, you know,               20 it extremely unlikely for those offenses to be reported,
21 vacated the residency or moved their residency.                        21 as well, such as the fact that if it's done correctly,
22    Q.   Can you give me any other examples of a voter                  22 vote harvesting is invisible to the voter. "Someone
23 casting a ballot for another voter who is ineligible                   23 stopped by to help me with my ballot," and as far as the
24 either because of felony convictions, deceased, absent,                24 voter knows, they voted exactly the way the voter wanted
25 no longer a resident? Any other examples of people                     25 them to vote, because I asked you, "Who would you like

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 1 to vote for for this race?" And I may or may not                      1              MS. PERALES: Yes.
 2 mention the down ballot races, which I fill in for the                2    Q.   Okay. We're back on the record. I was -- and
 3 people that I'm actually working for, because I don't                 3 I'm also checking -- okay. I was asking you some
 4 care about who's up ballot when I'm vote harvesting. I                4 questions about the attorney-client relationship.
 5 care about local elections that I'm getting paid for.                 5              Look, it's the end. You can see right
 6           So, you know, done properly, vote                           6 here, there's nothing -- there's nothing down below,
 7 harvesting is invisible to the voter, and unless there's              7 so --
 8 a situation where something has been just completely --               8              MR. HUDSON: You can't sweet talk him into
 9 you know, without the voter's knowledge or consent,                   9 answering your question.
10 there has been an application for a mail ballot and they             10              THE WITNESS: That's exciting.
11 are planning on voting in person and find out that,                  11              MR. HUDSON: For purposes of the record,
12 "Wait a second. No, I already voted by mail? No, I                   12 we're all laughing. I know this isn't being recorded,
13 don't." That's going to get reported a lot of the time,              13 but I want to make it very clear that we're all
14 you know. So I agree and -- and would disagree or                    14 chuckling about that one.
15 distinguish --                                                       15              MS. PERALES: Yes, it's all in good humor.
16    Q.   Uh-huh.                                                      16 And I've been foiled by Mr. Hudson and my charm
17    A.   -- on other grounds.                                         17 offensive.
18    Q.   Is it also the case that if a voter assister, a              18    Q.   (By Ms. Perales) So I do have some questions
19 mail ballot voter assister is doing everything the way               19 for you about the attorney-client privilege, which is,
20 that they are supposed to do, that the experience is                 20 is there a difference, in your mind, in terms of whether
21 similarly seamless for the voter, who understands that               21 you've formed an attorney-client relationship with a
22 the assister is filling out according to their wishes                22 legislator or whether you are giving fact information --
23 and helping them with the ballot and in a completely                 23 for example, like the number of prosecutions or what a
24 appropriate way. The voter would similarly have a                    24 prosecution was about -- versus advising them on
25 seamless and non-troubling experience with that?                     25 something like the interpretation of statutory language?
                                                             Page 218                                                                Page 220
 1    A.   Yeah. And I would say it's more likely that                   1 Do you draw a distinction there at all?
 2 the voter would have a bad experience when the vote                   2              MR. HUDSON: I'm going to object. That's
 3 harvester is doing the wrong thing, but, yeah, I think                3 an improper contention. Mr. White is here as a fact
 4 that that's the challenging -- that's the challenge of                4 witness, not to give legal opinions about
 5 investigating mail ballot fraud and proving it after the              5 attorney-client, attorney work product. We also have a
 6 fact, is that, done correctly, it may look to the voter               6 stipulation on the record. With that, I'll instruct you
 7 just like it's done appropriately.                                    7 not to answer to the extent that your answer would
 8    Q.   I'm going to ask you no more questions about                  8 encroach on any stipulated privileges. To the extent
 9 your testimony.                                                       9 that you can answer, you're free to do so.
10           Is it -- is it your contention that when                   10    A.   I don't -- I don't know that I can.
11 you are advising a legislator during the legislative                 11    Q.   Okay. Well, that was -- that is me kind of
12 process about facts related to voter fraud, that you                 12 getting closer to what I really want to ask you about,
13 have an attorney-client relationship with the                        13 which is discussions that you've had with legislators
14 legislator?                                                          14 that you consider not privileged by the attorney-client
15           MR. HUDSON: I'm going to object to the                     15 privilege. Not every discussion you've ever had with a
16 extent that that would encourage attorney-client                     16 legislator can be understood to be attorney-client
17 privilege between me and my client, or attorney work                 17 privileged. Would you agree with me on that?
18 product, or legislative privilege. To the extent that                18    A.   Certainly not questions that I was asked at a
19 you can answer that without revealing any                            19 legislative committee hearing. Things like that would
20 attorney-client privilege or any other privileges,                   20 be -- would be covered, I would agree.
21 you're free to do so. Otherwise, I'm instructing you                 21    Q.   So for the purpose of the record, are you
22 not to answer.                                                       22 asserting that any private conversation you would have
23    A.   I don't know that I can.                                     23 had with a legislator, regardless of the content, would
24           THE REPORTER: Can we take a short break?                   24 be privileged as attorney-client privilege?
25           (Brief recess.)                                            25              MR. HUDSON: Same objections.

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